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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND

_______________________________
                                   )
Conservation Law Foundation, Inc., )
                                   )          C.A. No. ______
                       Plaintiff,  )
                                   )          COMPLAINT and JURY DEMAND
       v.                          )
                                   )
Shell Oil Products US,             )
Shell Oil Company,                 )
Shell Petroleum, Inc.,             )
Shell Trading (US) Company,        )
Royal Dutch Shell plc, and         )
Motiva Enterprises LLC,            )
                                   )
                       Defendants. )
_______________________________ )

 CONSERVATION LAW FOUNDATION’S COMPLAINT FOR DECLARATORY AND
             INJUNCTIVE RELIEF AND CIVIL PENALTIES

Plaintiff Conservation Law Foundation, Inc. (“CLF”), by and through its counsel, hereby alleges:

                                        INTRODUCTION

1.     This is a civil suit brought under the citizen suit enforcement provisions of the Federal

Water Pollution Control Act, 33 U.S.C. §§ 1251, et seq. (“Clean Water Act” or “CWA”). Plaintiff

CLF seeks declaratory and injunctive relief, civil penalties, and other relief the Court deems proper

to remedy Defendants’ Shell Oil Products US, Shell Oil Company, Shell Petroleum, Inc., Shell

Trading (US) Company, Royal Dutch Shell plc, and Motiva Enterprises LLC (hereinafter,

collectively, “Defendants” or “Shell”) violations of federal law, which include Shell’s past and

ongoing failures to comply with Rhode Island Pollutant Discharge Elimination System

(“RIPDES”) Permit No. RI0001481, issued February 14, 2011 and effective April 1, 2011 (expired

April 1, 2016 and administratively continued) (“the Permit”) and the Clean Water Act.
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2.      These violations of federal law have occurred and are occurring at Shell’s Providence

Terminal, formerly the Motiva Enterprises LLC Providence Terminal, a bulk storage and fuel

terminal located at 520 Allens Avenue in Providence, Rhode Island (hereinafter “Providence

Terminal”).

                                  JURISDICTION AND VENUE

3.      CLF brings this civil suit under the citizen suit enforcement provisions of Section 505 of

the Clean Water Act, 33 U.S.C. § 1365. This Court has subject matter jurisdiction over the parties

and this action pursuant to that statute and 28 U.S.C. § 1331 (providing district courts with original

jurisdiction over an action arising under the Constitution and laws of the United States).

4.      Venue is proper in the U.S. District Court for the District of Rhode Island pursuant to

Section 505(c)(1) of the CWA, 33 U.S.C. § 1365(c)(1), because the source of the violations is

located within this judicial district.

5.      On June 28, 2017, CLF notified Shell of its intention to file suit for violations of the Clean

Water Act, in compliance with the statutory notice requirements set forth in 33 U.S.C.

§ 1365(a)(1), and the corresponding regulations at 40 C.F.R. § 135.2. Letter to Shell, from A.

Moses, Vice President and Director, CLF Rhode Island (June 28, 2017) (hereinafter, “CLF’s

Notice Letter”). A true and accurate copy of CLF’s Notice Letter (without attachments) is

appended hereto as Exhibit A.

6.      More than sixty days have elapsed since CLF’s Notice Letter was served on Shell, during

which time neither the Environmental Protection Agency (“EPA”) nor the Rhode Island

Department of Environmental Management (“DEM”) has commenced and diligently prosecuted a

court action to redress the Clean Water Act violations alleged in this complaint. See 33 U.S.C.

§ 1365(b)(1)(B).



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7.     Further, neither EPA nor DEM have taken administrative action to redress the Clean Water

Act violations alleged in this complaint.

                                             PARTIES

       Plaintiff

8.     Plaintiff CLF is a 501(c)(3) nonprofit, member-supported organization dedicated to the

conservation and protection of New England’s public health, environment, and natural resources.

It is incorporated under the laws of Massachusetts with its principal place of business at 62 Summer

Street, Boston, MA 02110. CLF operates in Rhode Island at 235 Promenade Street, Suite 560,

Providence, RI 02908. CLF has over 4,600 members, including over 200 members in Rhode

Island. CLF has long worked to protect the health of New England’s waterways, including

addressing the significant water quality impacts of industrial and stormwater pollution.

9.     CLF members live near, recreate on, and regularly visit the road and waters near Shell’s

Providence Terminal, including, but not limited to, the Providence River, the Providence Harbor,

and Narragansett Bay. CLF members use and enjoy these waters for recreational and aesthetic

purposes, including, but not limited to, boating, swimming, fishing, observing wildlife, and

sightseeing, and intend to continue to engage in these activities in the future.

10.    CLF and its members are harmed and threatened by Shell’s acts and omissions at the

Providence Terminal and its violations of environmental laws and regulations.

11.    CLF and its members are directly and indirectly exposed to or otherwise harmed by, and

have an interest in preventing, Shell’s pollutant discharges from the Providence Terminal. Among

other pollutants, these discharges contain toxic pollutants known to be harmful to humans and

aquatic life, to persist in the environment, to bioaccumulate in fish and shellfish, and to cause harm

to water quality and living marine resources. These discharges of pollutants, including toxic



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pollutants, result from Shell’s on-going activities at the Providence Terminal and its failure to

comply with the Permit.

12.     CLF and its members are concerned that Shell’s pollutant discharges, including toxic

pollutant discharges, harm the ecosystem and human use and enjoyment of the Providence River,

the Providence Harbor, and Narragansett Bay. CLF and its members are also deeply concerned

about health impacts resulting from exposure to pollutants from the Providence Terminal when

they are present in the surrounding environment. For these reasons, Shell’s violations have

diminished and continue to diminish CLF’s members’ use and enjoyment of the environment

surrounding the Providence Terminal. CLF seeks, on behalf of its members, to prevent and remedy

these ongoing injuries, compel compliance with the Permit, and seek restoration of affected marine

resources with this action.

13.     CLF and its members are also concerned about, and have an interest in eliminating the risk

from, the pollutants from the Providence Terminal that will wash into the Providence River, the

Providence Harbor, and Narragansett Bay, as well as into nearby communities and ecosystems,

when the Providence Terminal is flooded by increased and/or more intense precipitation, increased

magnitude and frequency of storm events, increased magnitude and frequency of storm surge,

and/or sea level rise.

14.     Shell has not taken sea level rise, increased and/or more intense precipitation, increased

magnitude and frequency of storm events, and increased magnitude and frequency of storm

surges—all of which will become, and are becoming, worse as a result of climate change—into

account in its Clean Water Act-required and enforceable stormwater pollution prevention plan

(“SWPPP”).




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15.    Shell has knowledge of, and has validated, the scientific certainty that these impacts are

occurring or will occur.

16.    As a result of Shell’s failure to account for these impacts, CLF and its members are placed

directly in harm’s way and have no assurance that they will be protected from pollutants released

and discharged from the Providence Terminal as a result of these impacts.

       Defendants

17.    Defendant Shell Oil Products US was founded in 1995 and is headquartered in Houston,

Texas. Shell Oil Products US is a wholly-owned subsidiary of Royal Dutch Shell plc that markets

and distributes crude oil and petroleum products.

18.    Defendant Shell Oil Company, founded in 1912 when the Royal Dutch/Shell Group

founded the American Gasoline Company, is headquartered in Houston, Texas. Shell Oil Company

is a wholly-owned subsidiary of Royal Dutch Shell plc that produces oil and gas in deepwater in

the Gulf of Mexico, heavy oil in California, and oil and gas from shale in Pennsylvania.

19.    Defendant Shell Petroleum, Inc. was founded in 1984 and is headquartered in Houston,

Texas. Shell Petroleum, Inc. is a wholly-owned subsidiary of Royal Dutch Shell plc that produces,

refines, and markets petroleum products and chemicals.

20.    Defendant Shell Trading (US) Company became operational in 1998 and is headquartered

in Houston, Texas. Shell Trading (US) Company is a wholly-owned subsidiary of Royal Dutch

Shell plc and is one of the world’s largest energy trading companies, operating as the market

interface of Royal Dutch Shell’s US companies and affiliates.

21.    Defendant Royal Dutch Shell plc is the parent company of the Shell group, a multinational

oil and gas corporation incorporated in England and Wales and headquartered in The Hague, The




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Netherlands. The Royal Dutch Shell Group formed in 1907 upon the merger of the Royal Dutch

Petroleum Company and the Shell Transport and Trading Company.

22.    Defendant Motiva Enterprises LLC, a wholly-owned affiliate of Saudi Aramco, is a fuel

refining, distribution, production, and marketing company headquartered in Houston, Texas.

Motiva Enterprises LLC formerly operated the Providence Terminal. Motiva Enterprises LLC was

a joint venture between Royal Dutch Shell plc and Saudi Aramco (through its subsidiary Saudi

Refining, Inc.). Shell formally announced the completion of the dissolution of Motiva Enterprises

LLC on May 1, 2017. See Shell Global, Shell Announces the Completion of Transaction to

Separate Motiva Assets (May 1, 2017),                http://www.shell.com/media/news-and-media-

releases/2017/completion-transaction-to-separate-motiva-assets.html.      Per    the    dissolution

agreement, Shell maintained control over the Northeastern region of the U.S., including ownership

of the Providence Terminal. Id. References to Shell herein include any predecessors, successors,

parents, subsidiaries, affiliates, and divisions of Shell, including Motiva Enterprises LLC.

23.    Upon information and belief, Shell is the world’s seventh largest company by 2016

revenues and the second largest oil and gas company. Shell Oil Company, Royal Dutch Shell plc’s

largest business, held the highest 2016 market value on the London Stock Exchange, with a market

cap of 193 billion pounds (£).

24.    Shell is a large producer, refiner, distributor, and marketer of petrochemicals. Upon

information and belief, Shell produces approximately 3.7 million barrels of oil equivalent (“BOE”)

every day.

25.    Upon information and belief, Shell’s “proved reserves” (the amount of oil and gas that

Shell could presently extract based on current technology and capabilities) as of December 31,

2016, are approximately 13.248 billion BOE, a 2.877 billion BOE increase (before production)



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from the year before. With interests in twenty-two oil refineries and operations in over 70

countries, Shell has a combined daily refining capacity of 2.9 million barrels.

26.    Upon information and belief, Shell Oil Products US operates the Providence Terminal and

holds the Permit for the Providence Terminal.

                       STATUTORY AND REGULATORY BACKGROUND

                                         Clean Water Act

27.     Congress enacted the Clean Water Act to “restore and maintain the chemical, physical,

and biological integrity of the Nation’s waters.” 33 U.S.C. § 1251(a). To accomplish that objective,

Congress set as a “national goal that the discharge of pollutants into the navigable waters be

eliminated [].” Id.

28.    Accordingly, Section 301(a) of the Clean Water Act, 33 U.S.C. § 1311(a), prohibits the

discharge of any pollutant into waters of the United States from a point source, unless the discharge

complies with various enumerated sections of the Act.

29.     Among other things, Section 301(a) prohibits discharges not authorized by, or in violation

of, the terms of a valid National Pollutant Discharge Elimination System (“NPDES”) permit issued

pursuant to Section 402(p) of the CWA, 33 U.S.C. § 1342(p).

30.     Section 502(14) of the Clean Water Act defines “point source” to include “any discernible,

confined and discrete conveyance, including but not limited to any pipe, ditch, channel, tunnel,

conduit, well, discrete fissure, container, rolling stock, concentrated animal feeding operation, or

vessel or other floating craft, from which pollutants are or may be discharged.” 33 U.S.C.

§ 1362(14).




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31.     Under the regulations implementing the Clean Water Act, the definition of “discharge of

a pollutant” includes “additions of pollutants into waters of the United States from: surface runoff

which is collected or channelled by man.” 40 C.F.R. § 122.2.

32.    Dischargers of pollutants, including industrial wastewater, process water, and stormwater

associated with industrial activity, must obtain and comply with the requirements of NPDES

permits issued under Section 402 of the Clean Water Act, 33 U.S.C. § 1342.

33.    NPDES permits contain pollutant sampling and monitoring requirements and limits on the

amount or concentration of allowable pollutants, in addition to requirements regarding control

measures, best management practices, and recordkeeping and reporting.

34.    The discharge of any pollutant in violation of a NPDES permit, the failure to conduct

required monitoring for pollutant discharges, and the failure to comply with other requirements of

a NPDES permit are all violations of the Clean Water Act, 33 U.S.C. §§ 1311(a), 1342.

35.    In Rhode Island, the Director of DEM has been delegated authority to implement the

NPDES permit program, R.I. Gen. Laws § 46-12-3, which in Rhode Island is called the Rhode

Island Pollutant Discharge Elimination System, or “RIPDES.”

36.    Section 505(a)(1) of the Clean Water Act, 33 U.S.C. § 1365(a)(1), provides for citizen

enforcement actions against “any person . . . who is alleged to be in violation of [] an “effluent

standard or limitation . . . or [] an order issued by the [EPA] Administrator or a State with respect

to such a standard or limitation.”

37.    Such enforcement action under Section 505(a) of the Clean Water Act includes an action

seeking remedies for unauthorized discharges in violation of Section 301 of the Clean Water Act,

33 U.S.C § 1311, as well as for failing to comply with one or more permit conditions in violation

of Sections 402 and 505(f) of the Act, 33 U.S.C. §§ 1342, 1365(f). Each separate violation of the



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Clean Water Act subjects the violator to a penalty of up to $37,500 per day per violation for all

violations occurring between January 12, 2009 and November 2, 2015; up to $51,570 per day per

violation for all violations occurring after November 2, 2015 and assessed on or after August 1,

2016 but before January 15, 2017; and up to $52,414 per day per violation for all violations

occurring after November 2, 2015 and assessed on or after January 15, 2017. See 33 U.S.C.

§§ 1319(d), 1365(a); 40 C.F.R. §§ 19.1–19.4.

                                    FACTUAL BACKGROUND

                                    Shell’s Providence Terminal

38.    Defendants,     acting      through   officers,   managers,   subsidiary   companies,    and

instrumentalities, own or have owned and/or operate or have operated the Providence Terminal.

39.    The Providence Terminal is a bulk storage and fuel terminal that has operated since 1907.

It previously operated as a lubrication oil blending facility, an asphalt production facility, and a

petroleum distribution facility.

40.    Upon information and belief, the Providence Terminal is comprised of approximately 75

acres of land.

41.    The Providence Terminal consists of “tank farms” (the West Side Tank Farm and East Side

Tank Farm), an ethanol railcar terminal, a marine terminal, buildings, and infrastructure. The West

and East Side Tank Farms refer to the tanks located on the west and east sides of Allens Avenue,

respectively.

42.    The Providence Terminal is engaged in the receipt, storage, and distribution of petroleum

products. The spectrum of fuels handled by the Providence Terminal consists of motor gasoline,

fuel grade ethanol, fuel oil, jet fuel, fuel additives, and diesel. The Providence Terminal contains

twenty-five refined petroleum product storage tanks, six of which are utilized for ethanol storage.



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 43.    The Providence Terminal processes both neat ethanol and fuel ethanol, and receives and

 processes off-spec gasoline, gasoline blending stock, and dimate (hexane) to produce saleable

 gasoline. Fuel products are received at the marine transfer area of the Providence Terminal via

 ships and barges and shipped from the Providence Terminal via trucks or barges. The ethanol is

 transferred into ethanol railcars and transported off the site.

 44.    The Providence Terminal generates, stores, handles, and disposes of (and has throughout

 the term of Motiva’s and Shell’s ownership and control) toxic and hazardous chemicals, metals,

 and compounds, including, but not limited to: Benzene, Ethanol, Ethylbenzene, Iron, Methyl

 Tertiary Butyl Ether (MTBE), NAPL, SGT-HEM (Oil and Grease), Petroleum Hydrocarbons,

 Pyrene, Total Suspended Solids, Xylenes (m,p,o), and the following Polycyclic Aromatic

 Hydrocarbons (PAHs):1 Acenaphthene, Acenaphthylene, Anthracene, Benzo(a)anthracene,

 Benzo(a)pyrene, Benzo(b)fluroanthene, Benzo(ghi)perylene, Benzo(k)fluoranthene, Chrysene,

 Dibenzo(a,h)anthracene,      Fluoranthene,     Fluorene,    Indeno(1,2,3-cd)pyrene,   Naphthalene,

 Phenanthrene, and Pyrene.

 45.    The Providence Terminal’s marine transfer area is comprised of two mooring areas and

 two product transfer areas. The Providence Terminal is equipped to dock two vessels

 simultaneously. Product is transferred via the dock or via a ten-bay truck rack.

 46.    The Providence Terminal operates 24 hours per day, 7 days per week.

 47.    Defendants are, and/or have been, responsible for the operation and maintenance of the

 Providence Terminal, including compliance with the Permit.




 1
  Referred to as “Polynuclear” Aromatic Hydrocarbons (PAHs) in the Permit. Permit Part I.A.1, at
 2. Polynuclear is synonymous with Polycyclic.
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 48.    The Providence Terminal will be inundated, in whole or in part, by storm surge associated

 with a Category 1, 2, 3, or 4 storm event.

 49.    The Providence Terminal is depicted as inundated, in whole or in part, by storm surge

 associated with Category 1, 2, 3, or 4 storm events in readily available model outcomes from state

 and federal agencies responsible for assessing storm risk in coastal areas as follows:




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 See University of Rhode Island Environmental Data Center (“URIEDC”), Rhode Island

 Geographic Information System (“RIGIS”), Hurricane Surge Inundation Areas (Worst Case),

 http://www.arcgis.com/home/webmap/viewer.html?useExisting=1&layers=43169083ba5f4566ae

 38be9223450a3d (last visited Aug. 15, 2017).

 50.    The majority of the Providence Terminal East Side Tank Farm is included within a

 “Category 1” and “Category 2” Hurricane Surge Inundation Zone, nearly the entire Providence

 Terminal is included within the “Category 3” Hurricane Surge Inundation Zone, and the entire

 Providence Terminal is included within the “Category 4” Hurricane Surge Inundation Zone.

 51.    In addition to the certainty of inundation from storm surge, the Providence Terminal is now

 and will continue to be regularly subject to the more than seventy percent increase in intense rains

 experienced throughout the Northeastern United States, including in Providence, as a result of

 climate change. See infra, ¶ 142(d). These rains more likely than not overwhelm the Providence

 Terminal’s stormwater management system, and increase illicit discharges from the Providence

 Terminal’s operations.

                     Discharges to the Providence River and Shell’s Permit

 52.    The Providence Terminal is located on the shore of the Providence River, in the Providence

 Harbor, at the head of Narragansett Bay.

 53.    Narragansett Bay is New England’s largest estuary, comprised of nearly 147 square miles,

 serving as a critical habitat for thousands of species, and a backyard to approximately 887,863

 Rhode Island residents. See Save the Bay, Facts and Figures About Narragansett Bay (2017),

 http://www.savebay.org/bayfacts (last visited Aug. 17, 2017). The Bay attracts an estimated

 100,000 fishermen and twelve million tourists annually. See Save the Bay, Discover Your Bay,

 http://www.savebay.org/discover (last visited Aug. 17, 2017).



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 54.    As of 2015, the Rhode Island commercial (including imports) and recreational fishing

 industries provide for 4,831 jobs and 3,354 jobs respectively. See NOAA, Fisheries Economics

 in      the        United        States       2015,        at    94,     75      (May      2017)

 http://www.st.nmfs.noaa.gov/Assets/economics/publications/FEUS/FEUS-2015/Report-

 Chapters/FEUS%202015-AllChapters_Final.pdf. In 2015, commercial fishing contributed

 approximately $167 million to Rhode Island’s economy, and recreational fishing contributed

 approximately $217 million. Id. at 8, 11.

 55.    Narragansett Bay contributes $100 million annually to the local recreational fishing

 economy and supports tens of thousands of tourism related jobs. See EPA Office of Research and

 Development and New England Regional Office, Striving for Balance in the Narragansett Bay

 Watershed:     EPA’s        Triple        Value     Simulation   (3VS)   Model    (Jan.    2013),

 https://www.epa.gov/sites/production/files/2013-12/documents/3vs-tool-nutrient-mgt-narr-

 bay.pdf. According to DEM, Narragansett Bay’s “annual contribution to Rhode Island’s economy

 totals billions of dollars,” and “[i]ts environmental and aesthetic value is priceless.” DEM,

 Introduction                to                    Narragansett           Bay              (2017),

 http://www.dem.ri.gov/programs/emergencyresponse/bart/nbay.php.

 56.    The health of Narragansett Bay has steadily improved over the last decade due in part to a

 largescale Combined Sewer Overflow (“CSO”) project undertaken by the Narragansett Bay

 Commission (“NBC”). See NBC, Evaluation of CSO Phase I Project: Water Quality Outcomes

 (Apr. 21, 2016),

 http://snapshot.narrabay.com/app/Services/MossFile.ashx?file=/s/emda/snapshot/Documents/Nar

 ragansett%20Bay%20Commission%20CSO%20Phase%20I%20Report.pdf. The NBC reports

 that as of 2014, the project had prevented the discharge of 6.15 billion gallons of sewage from



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 entering Narragansett Bay and led to a 50% reduction in fecal coliform bacteria load annually. Id

 at 1.

 57.     According to DEM Director Janet Coit, stormwater pollution still remains a challenge for

 the region. In a 2015 article, she stated, “[i]t’s going to require a lot of small actions,” and, “[w]e

 can’t deal with stormwater with just big tunnels.” Frank Carini, Urban Runoff Fouls Economic

 Opportunities, ECORI (Nov. 4, 2015),

 https://www.ecori.org/pollution-contamination/2015/11/4/urban-runoff-fouls-swimming-and-

 fishing-opportunities.

 58.     The 2015 Watershed Counts report, produced by the URI Coastal Institute, the

 Narragansett Bay Estuary Program, and EPA, highlighted the negative impacts of stormwater

 runoff caused by the urbanization of the watershed. See Watershed Counts, Cities by the Bay

 (2015), http://watershedcounts.org/documents/Watershed_Counts_Report_2015.pdf. Over one

 thousand people live per square mile along Narragansett Bay, resulting in 56% of the watershed

 being classified as urban. Id. at 7. The report cautions that urban ports are currently one of the

 sources of “pollution and degradation of our urban waters; innovative solutions are needed to

 reduce their impact.” Id. at 5. The report further highlights that urban ports are threatened by rising

 seas and coastal storms, and are responding accordingly:

                [p]orts around the world are starting to plan in new ways to be more
                resilient in the face of climate change. This ranges from updating
                emergency response and land use plans to discussing how
                vulnerable structures can be moved to a safer place within ports or
                perhaps even moved to a remote location in the surrounding
                community . . . ports need to look to the future to avoid drowning in
                place.

 Id. at 20.




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 59.    Shell operates the Providence Terminal pursuant to an individual permit issued by DEM

 under the RIPDES permit program, R.I. Gen. Laws Chapters 46-12, 42-17.1, and 42-35. Shell

 operates subject to Permit No. RI0001481, which was issued on February 14, 2011 and became

 effective on April 1, 2011. The Permit expired on April 1, 2016 and has been administratively

 continued.

 60.    The Permit authorizes Shell, subject to certain conditions, to discharge stormwater runoff,

 groundwater, holding pond drainage, hydrostatic/hydraulic test water, and treated tank bottom

 draw-off water.

 61.    The receiving water identified in the Permit is the Providence River (Narragansett

 Basin/Providence River Subbasin/Waterbody ID Number RI0007020E-01B), a tidal river that

 flows through the communities of Providence, East Providence, Cranston, Warwick, and

 Barrington on its way to Narragansett Bay.

 62.    The upper half of the Providence River, where the Providence Terminal is located, is a

 Class SB1{a} waterbody “designated for primary and secondary contact recreational activities and

 fish and wildlife habitat. They shall be suitable for aquacultural uses, navigation, and industrial

 cooling. These waters shall have good aesthetic value.” R.I. Code R. 25-16-25:8(B)(2)(c).

 63.    The State of Rhode Island 2014 303(d) List, List of Impaired Waters FINAL identifies the

 upper Providence River (Waterbody ID Number RI0007020E-01B) as one of the waterways within

 Rhode Island that is impaired. DEM Office of Water Resources, 2014 303(d) List of Impaired

 Waters FINAL (2015), http://www.dem.ri.gov/pubs/303d/303d14.pdf.

 64.    The Permit includes conditions and limitations controlling Shell’s discharges at the

 Providence Terminal.




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 65.    The Permit authorizes discharges from the Providence Terminal through three stormwater

 discharge outfalls to the Providence River: Outfalls 001A, 002A, and 003A. The Permit includes

 conditions that specify the required operation of the stormwater system, including specific

 conditions, limitations, and monitoring and reporting requirements governing the discharge from

 each outfall.

 66.    Stormwater and groundwater accumulated in the West Side Tank Farm is collected by

 drainage swales, pipes, and pumps and directed to a collection/retention pond and pumped through

 an eight-inch pipeline to an oil/water separator prior to discharge to the Providence River through

 Outfall 001A.

 67.    Stormwater accumulated in the East Side Tank Farm is collected by drains and pipes,

 directed to an oil/water separator and a holding pond, and then discharged to the Providence River

 through Outfall 002A.

 68.    The stormwater accumulated from the paved parking area in the northwest corner of the

 East Side Tank Farm is collected in catch basins, directed through underground piping to an

 oil/water separator, and then discharged through Outfall 003A to the Providence River.

 69.    Though not authorized by the Permit, stormwater accumulated from an area of the

 Providence Terminal on the west side of Allens Avenue is collected in catch basins, directed

 through underground piping to a connection with the City of Providence stormwater drainage

 system, and then, based on information and belief, discharged through a stormwater pipe under

 the east side of the Providence Terminal to the City of Providence stormwater outfall into the

 Providence River.

 70.    Though not authorized by the Permit, runoff flows down an embankment located on the

 Providence Terminal property directly into the Providence River. See Exhibit B.



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        Stormwater Pollution Prevention Plan

 71.    Shell is required to have a stormwater pollution prevention plan in place at the Providence

 Terminal:

                A Storm Water Pollution Prevention Plan (SWPPP) shall be
                maintained and implemented by the permittee. The SWPPP shall be
                prepared in accordance with good engineering practices and identify
                potential sources of pollutants, which may reasonably be expected
                to affect the quality of storm water discharges associated with
                industrial activity from the facility.

 Permit Part I.C.1, at 12.

 72.    The Permit requires that: “[i]n addition, the SWPPP shall describe and ensure the

 implementation of Best Management Practices (BMPs) which are to be used to reduce or eliminate

 the pollutants in storm water discharges associated with industrial activity at the facility and to

 assure compliance with the terms and conditions of this permit.” Permit Part I.C.1, at 12.

 73.    Shell has failed to consider and address the risks of sea level rise, increased and/or more

 intense precipitation, increased magnitude and frequency of storm events, and increased magnitude

 and frequency of storm surges—all of which will become, and are becoming, worse as a result of

 climate change—in its SWPPP, as more fully set forth below.

 74.    The SWPPP states that “[t]he oil/water separators are is [sic] inspected quarterly for both

 sludge layer and oil layer and cleaned-out as appropriate” and that “[t]he storm water collection

 ponds are also inspected quarterly for excessive sediment build-up or evidence of erosion, and

 corrective action taken as needed.” SWPPP, at 4-4.

 75.    The separator and ponds are routinely dirty, and show no signs of regular cleaning or

 maintenance. Examples of this are attached at Exhibits B and C (the content of Exhibit C was

 attached to CLF’s Notice Letter as Appendix A).




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          Monitoring and Reporting

 76.      The Permit contains “monitor and report” requirements for numerous pollutant parameters

 for Outfalls 001A and 002A. See Permit Part I.A, at 2-4.

 77.      The Permit requires Shell to “assure that all wastewater testing required by this permit, is

 performed in conformance with the method detection limits listed below . . . .” Permit Part I.D, at

 17.

 78.      The relevant method detection limits (“MDLs”) specified in the Permit are:

                         Benzene                        1.0 ug/l
                         Toluene                        1.0 ug/l
                         Ethylbenzene                   1.0 ug/l
                         Total Xylenes                  0.5 ug/l
                         Acenaphthene                   1.0 ug/l
                         Acenaphthylene                 1.0 ug/l
                         Anthracene                     1.0 ug/l
                         Benzo(a)anthracene             0.013 ug/l
                         Benzo(a)pyrene                 0.023 ug/l
                         Benzo(b)fluoranthene2          0.018 ug/l
                         Benzo(ghi)perylene             2.0 ug/l
                         Benzo(k)fluoranthene           0.017 ug/l
                         Chrysene                       0.15 ug/l
                         Dibenzo(a,h)anthracene         0.03 ug/l
                         Fluoranthene                   1.0 ug/l
                         Fluorene                       1.0 ug/l
                         Indeno(1,2,3-cd)pyrene         0.043 ug/l
                         Naphthalene                    1.0 ug/l
                         Phenanthrene                   1.0 ug/l
                         Pyrene                         1.0 ug/l

 Permit Part I.D, at 18, 19.

 79.      The Permit also states that “all sample results shall be reported as: an actual value, ‘could

 not be analyzed,’ less than the reagent water MDL, or less than an effluent or sludge specific

 MDL.” Permit Part I.D, at 17.




 2
     Referred to in the MDL table on page 18 as “3,4-benzofluoranthene.”
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 80.     As summarized in Exhibit D (the content of Exhibit D was attached to CLF’s Notice Letter

 as Appendix B), Shell has often reported on its DMRs that the concentration of pollutants in the

 samples analyzed was “<1” ug/L. Reporting “<1” ug/L indicates that the MDL Shell is using for

 the pollutants is one ug/L, and the amount of pollutant in the analyzed samples was below the

 detection limit of one ug/L.

 81.     The MDL expressly required in the Permit for total xylenes, benzo(a)anthracene,

 benzo(a)pyrene, benzo(b)fluoranthene, benzo(k)fluoranthene, chrysene, dibenzo(a,h)anthracene,

 and indeno(1,2,3-cd)pyrene is not “one” ug/L; it is 0.5, 0.013, 0.023, 0.018, 0.017, 0.15, 0.03, and

 0.043, ug/L respectively—all values below one. For these pollutant parameters, reporting “<1”

 ug/L is a violation of the Permit.

 82.     The Permit requires the following regarding sampling for “oil and grease” and “TSS:”

                 Two (2) samples shall be taken during wet weather and one (1)
                 during dry weather. Wet weather samples must be collected during
                 the first 30 minutes from discharges resulting from a storm event
                 that is greater than 0.1 inch of rainfall in a 24-hour period and at
                 least 72 hours from the previously measurable (greater than 0.1 inch
                 of rainfall in a 24-hour period) storm event. If this is not feasible,
                 wet weather samples may be taken within the first hour of discharge
                 and noted on the Discharge Monitoring Report.
 Permit Part I.A.1 n. 1, at 4.

 83.     As summarized in Exhibit E (the content of Exhibit E was attached to CLF’s Notice Letter

 as Appendix C, Table 1), the DMRs for the Providence Terminal regularly indicate that samples

 were not taken in compliance with this Permit requirement.

 84.     For monitored pollutants other than “oil and grease” and “TSS”, the Permit requires that:

                 One sample shall be taken during the first 30 minutes of discharge
                 from a storm event that is greater than 0.1 inch of rainfall in a 24-
                 hour period and at least 72 hours from the previously measurable
                 (greater than 0.1 inch of rainfall in a 24-hour period) storm event; if
                 this is not feasible, it may be taken within the first hour of discharge
                 and noted on the Discharge Monitoring Report.

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 Permit Part I.A.1 n. 2, at 4.

 85.     As summarized in Exhibit F (the content of Exhibit F was attached to CLF’s Notice Letter

 as Appendix C, Table 2), the DMRs for the Providence Terminal regularly indicate that samples

 were not taken in compliance with this Permit requirement.

 86.     For all pollutant monitoring, Shell is required to document specific storm characteristics

 on the DMRs. Specifically, the Permit requires that:

                 In addition to the required sampling results submitted in accordance
                 with Parts I.A.l. and l.A.3. of this permit, the permittee must provide
                 the date and duration (hours) of the storm event sampled, the total
                 depth of rainfall (inches), and the total volume of runoff (Ft3). This
                 information must be submitted with the Discharge Monitoring
                 Report forms at the frequency specified in Part I.E.2 of this permit.

 Permit Part I.A.4.d, at 8.

 87.     As summarized in Exhibit G (the content of Exhibit G was attached to CLF’s Notice Letter

 as Appendix C, Table 3), the DMRs for the Providence Terminal indicate that the information

 required under this Permit provision was not recorded and/or provided.

 88.     For all pollutant monitoring, if adverse climatic conditions prevent samples from being

 collected in a given period, Shell is required to submit an explanation as to why, and may only

 exercise this waiver once in a two-year period. Specifically, the Permit requires that:

                 If the permittee is unable to collect samples due to adverse climatic
                 conditions which make the collections of samples dangerous or
                 impractical, the permittee must submit, in lieu of sampling data, a
                 description of why samples could not be collected, including
                 available precipitation data for the monitoring period. The permittee
                 can only exercise this waiver once in a two (2) year period for
                 outfalls designated 001A, 002A, and 003A.

 Permit Part I.4.e, at 8.




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 89.     As summarized in Exhibit H (the content of Exhibit H was attached to CLF’s Notice Letter

 as Appendix C, Table 4), the DMRs for the Providence Terminal indicate that Shell is over-

 utilizing this waiver requirement, in violation of the Permit’s prohibition on using the waiver more

 than once in a two-year period.

 90.     The Permit includes a condition entitled “Recordkeeping and Internal Reporting

 Procedures” that states:

                 Incidents such as spills, or other discharges, along with other
                 information describing the quality and quantity of storm water
                 discharges must be included in the records. All inspections and
                 maintenance activities must be documented and maintained on site
                 for at least five (5) years.

 Permit Part I.C.5.b.11, at 16 (emphasis added).

 91.     Because all discharges through Outfall 001A and some discharges through Outfall 002A

 are pump controlled, see Statement of Basis IV, at 3, Shell must take samples at those locations

 within the first 30 minutes of discharge associated with pumping and keep records of all pump

 operations to be in compliance with the Permit, see Permit Part I.A.1 n. 1, 2, at 4.

 92.     The DMRs do not indicate that monitoring is occurring during pumped discharges at all,

 let alone during the first 30 minutes after the pumps are activated.

 93.     Shell’s failure to comply with the sampling requirements in its Permit distorts the sampling

 results it does report.

 94.     To be effective, stormwater monitoring must be conducted when the runoff first begins, as

 this is when the highest concentration of pollutants washes off of the facility and into the

 Providence River. It is during this time that Shell must demonstrate compliance with the terms and

 conditions of its Permit that have been imposed to limit the amount of pollutants in Shell’s

 discharge and protect the Providence River.



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 95.    When Shell fails to sample at the right time and under the right conditions as set forth in

 the Permit, it fails to capture an accurate picture of the pollution discharging from its facility.

        Water Quality Standards

 96.    The Permit states: “[d]ischarges which cause a violation of water quality standards are

 prohibited.” Permit Part II.o at 7.

 97.    The     State   water    quality   standards    for    benzo(a)anthracene,     benzo(a)pyrene,

 benzo(b)fluoranthene, benzo(k)fluoranthene, chrysene, dibenzo(a,h)anthracene, and indeno(1,2,3-

 cd)pyrene are well below “1” ug/L. See R.I. Code R. 25-16-25, Appendix B, Table 1 (DEM

 Ambient Water Quality Criteria and Guidelines).

 98.    Upon information and belief, Shell is violating Rhode Island water quality standards, at a

 minimum, on the days in which Shell has reported “<1” ug/L for the parameters listed above. See

 supra, ¶ 80.

        Oil Sheen

 99.    The Permit states: “[t]he discharge shall not cause visible discoloration of the receiving

 waters” and “[t]he effluent shall contain neither a visible oil sheen, foam, nor floating solids at any

 time.” Permit Part I.A.4.b & I.A.4.c, at 8.

 100.   State water quality standards prohibit any “sludge deposits, solid refuse, floating solids,

 oil, grease, scum” in Class SB1{a} waterbodies, including the relevant portion of the Providence

 River. R.I. Code R. 25-16-25:8, Table 2.8.D.(3).

 101.   There have been past and ongoing discharges associated with the Providence Terminal that

 result in a visible oil sheen at the Providence Terminal outfalls and in the Providence River.

 102.   A 2012 Emergency Response Report, filed with the DEM Division of Compliance and

 Inspection, stated that “oil has been coming out into the Providence River [near one of the



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 outfalls],” State of Rhode Island and Providence Plantations Department of Environmental

 Management, Emergency Response Report, by DEM Investigator Jill Eastman (Feb. 23, 2012);

 see also infra, ¶ 110, in violation of the Permit.

         Operation and Maintenance of Outfall Pipes

 103.    The Permit requires that “[t]he wastewater collection and treatment system shall be

 operated and maintained in order to provide optimal treatment of the wastewaters prior to discharge

 to the receiving water.” Permit Part I.B.4, at 11.

 104.    The current condition of the Providence Terminal wastewater collection and treatment

 system does not comply with this provision of the Permit.

 105.    The Providence Terminal outfall pipes, which discharge directly into the Providence River,

 are in disrepair.

                                    Risks to the Providence Terminal

 106.    The Providence Terminal is at risk from coastal flooding caused by sea level rise, increased

 and/or more intense precipitation, increased magnitude and frequency of storm events, and

 increased magnitude and frequency of storm surges—all of which will become, and are becoming,

 worse as a result of climate change.

 107.    The location, elevation, and lack of preventative infrastructure at the Providence Terminal

 make it especially vulnerable to these risks.

 108.    Shell has not implemented actions to address, mitigate, or eliminate these vulnerabilities at

 the Providence Terminal.

 109.    Public records associated with the Providence Terminal acknowledge that its stormwater

 drainage and treatment system cannot effectively handle large precipitation events, even as these

 events are increasing in frequency and duration.



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 110.    In a 2010 Emergency Response Report documenting a heavy rain event resulting in a spill,

 DEM Investigator John Leo states: “I checked the area around the facility and discovered a heavy

 sheen coming out of several storm drains along the shore. This was due to the heavy rains over the

 last few days the spill was coming out of the drains so fast that booms will not work and the

 conditions are not conducive to using absorbent pads and booms on the sheen.” State of Rhode

 Island and Providence Plantations Department of Environmental Management, Emergency

 Response Report, by Investigator John Leo (Apr. 5, 2010).

 111.    The heavy rains referenced in the Emergency Response Report had occurred a full week

 earlier, on March 29 and 30. See National Oceanic and Atmospheric Administration (“NOAA”) &

 National Centers for Environmental Information, Record of Climatological Observations,

 Providence, RI.

 112.    According to DEM in issuing the Permit, “[t]he circumstances at the facility have not

 substantially changed since the issuance of the last RIPDES permit . . . .” Statement of Basis IV,

 at 7.

 113.    Preparation for spills and other releases of hazardous substances is especially important at

 the Providence Terminal given its vulnerability to coastal flooding caused by sea level rise,

 increased and/or more intense precipitation, increased magnitude and frequency of storm events,

 and increased magnitude and frequency of storm surges—all of which will become, and are

 becoming, worse as a result of climate change.

 114.    In January 2017, NOAA released a report entitled Global and Regional Sea Level Rise

 Scenarios for the United States, in which NOAA increased its worst case sea level rise prediction

 to a greater-than-eight-foot increase in sea level rise in Rhode Island by 2100. See Rhode Island




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 Coastal Resources Management Council (“CRMC”), New NOAA sea level rise projections

 dramatically increase by 2100 (Feb. 22, 2017), www.crmc.ri.gov/news/2017_0222_sealevel.html.

 115.    In reference to the report, Grover Fugate, executive director of CRMC stated: “[t]o put in

 perspective we’ve had 10 inches (of sea-level rise) during the last 90 years. We’re about to have

 10 feet in the next 80 years.” Tim Faulkner, Ocean State Sea level-Rise Estimate Now Above 9

 Feet, ECORI (Feb. 12, 2017), https://www.ecori.org/climate-change/2017/2/12/see-level-rise-

 estimate-now-above-9-feet.

 116.    Findings of the NOAA report indicate that “[a]long regions of the Northeast Atlantic

 (Virginia coast and northward) and the western Gulf of Mexico coasts, RSL [relative sea level]

 rise is projected to be greater than the global average for almost all future GMSL [global mean sea

 level] rise scenarios.” See NOAA, Global and Regional Sea Level Rise Scenarios for the United

 States, at vii (2017),

 https://tidesandcurrents.noaa.gov/publications/techrpt83_Global_and_Regional_SLR_Scenarios_

 for_the_US_final.pdf.

 117.    According to CRMC, based on past patterns of flooding, the Federal Emergency

 Management Agency’s (“FEMA”) National Flood Insurance Program has already designated 14%

 of Rhode Island’s landbase as Special Flood Hazard Areas—areas with a 1% annual chance of

 flooding in a given year. See CRMC, The State of Rhode Island Coastal Resources Management

 Program,         As      Amended,        Section       145       at      5      (Dec.       2012),

 http://www.crmc.ri.gov/regulations/RICRMP.pdf.

 118.    The FEMA flood map for the area where the Providence Terminal is located, which was

 last revised in September 2013, shows that almost all of the Providence Terminal is within the

 flood hazard zone.



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 119.    The portion of the Providence Terminal located to the east of Allens Avenue is designated

 as one of the “Special Flood Hazard Areas (SFHAs) Subject to Inundation by the 1% Annual

 Chance Flood.”

 120.    The 1% annual chance flood, also known as the base flood or 100-year flood, is the flood

 that has a 1% chance of being equaled or exceeded in any given year.

 121.    Most of the western portion of the Providence Terminal (to the west of Allens Avenue) is

 designated as “Other Flood Areas” on the FEMA flood map.

 122.    The FEMA flood map depicts the “Limit of Moderate Wave Action,” which “represents

 the approximate landward limit of the 1.5-foot breaking wave,” as located further inland than the

 group of tanks closest to the Providence River.

 123.    In 2005, FEMA described the Metro Bay Region—which includes twenty-four miles of

 shoreline along Cranston, East Providence, Providence, and Pawtucket, including the Providence

 Terminal—as “the Achilles’ heel of the Northeast due to its vulnerability to flooding.” Natural

 Hazards: Hurricanes, Floods, and Sea Level Rise in the Metro Bay Region, Special Area

 Management Plan, Analysis of Issues and Recommendations for Action, at 4 (2009),

 http://sos.ri.gov/documents/archives/regdocs/released/pdf/CRMC/5766.pdf. The region faces

 increasingly frequent and intense storms caused by rising temperatures, sea levels, and

 precipitation rates.

 124.    The Providence River’s shoreline has evolved over more than two centuries of

 development and landfill. From 1939 to 2003, the site containing the Providence Terminal’s East

 Side Tank Farm expanded by as much as 112.26 m (368.3 ft) into the Providence River. See

 CRMC, Shoreline Change Maps, Narragansett Bay, Rhode Island: Providence, Fox Point Reach

 (2003), http://www.crmc.ri.gov/maps/shorechange/Providence_Fox_Point_Reach.pdf.



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 125.   Situated on backfill, the Providence Terminal is at risk from coastal flooding caused by sea

 level rise, increased and/or more intense precipitation, increased magnitude and frequency of storm

 events, and increased magnitude and frequency of storm surges—all of which will become, and

 are becoming, worse as a result of climate change.

 126.   The Port of Providence, located within the Metro Bay Region on the Providence River, is

 directly at risk from these impacts. A URI research team funded by the Rhode Island Department

 of Transportation examined the vulnerabilities of the Port of Providence to impacts such as storm

 surge, sea level rise, and increased frequency and strength in storms. The research team found that

 “[s]ince 1851, 37 hurricanes have come within 50 miles of Rhode Island”—“approximately a ‘4

 year return period.’” Special House Commission to Study Economic Risk Due to Flooding and Sea

 Level Rise, submitted to the Rhode Island House of Representatives, at 26–28 (May 12, 2016),

 http://www.rilin.state.ri.us/commissions/fsrcomm/commdocs/20160512%20Economic%20Risk

 %20Due%20to%20Flooding%20and%20Sea%20Level%20Rise%20-%20final.pdf.                            When

 accounting for climate change impacts, such as increased frequency and intensity of storms, as

 well as sea level rise, a “1 in 100 year storm scenario could become the 1 in 3 year storm scenario.”

 Id.

 127.    CRMC developed StormTools—a series of maps for the Rhode Island Shoreline Change

 Special Area Management Plan. In developing those maps, researchers examined climate change

 risks such as sea level rise, floodplain mapping, extra/tropical storms, and nuisance storms.

 Applying data, including, but not limited to, data from the U.S. Army Corps of Engineers’ North

 Atlantic Coast Comprehensive Study of storm surge and wave height at the 95% confidence

 interval and the NOAA high curve Sea Level Rise projections (Sea-Level Change Curve

 Calculator), CRMC predicted coastal inundation due to storm surge and tides “today.”



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 128.   As indicated in the StormTools modeling, the majority of the Providence Terminal is

 presently at risk from a 4%, 2%, 1%, and 0.2% annual chance storm at respectively increasing

 flood depths. See CRMC, URI CRC, TODAY: Extra/Tropical Storms, Advanced STORMTOOLS,

 http://arcg.is/1Wv9uT (select “Content” on the top left to reveal selections for 25, 50, 100, and

 500 year coastal storms; selecting those storms reveal maps showing flooding) (last visited Aug.

 15, 2017).

 129.   According to StormTools, for 25 year coastal storms—which have a 4% chance of

 occurring in a given year—researchers predicted flood depths as great as 10 feet, with impacts

 extending to the West Side Tank Farm of the Providence Terminal.

 130.   According to StormTools, for 50 year coastal storms—which have a 2% chance of

 occurring in a given year—researchers predicted flood depths as great as 11 feet, with impacts

 extending to the West Side Tank Farm of the Providence Terminal.

 131.   According to StormTools, for 100 year coastal storms—which have a 1% chance of

 occurring in a given year—researchers predicted flood depths as great as 13 feet, with impacts

 extending to the West Side Tank Farm of the Providence Terminal.

 132.   According to StormTools, for 500 year coastal storms—which have a 0.2% chance of

 occurring in a given year—researchers predicted flood depths as great as 18 feet, with impacts

 extending to the West Side Tank Farm of the Providence Terminal.

 133.   NOAA developed the “SLOSH” model (Sea, Lake, and Overland Surges from Hurricanes),

 which produces hurricane surge values for worst case hurricane surge inundation areas. The Army

 Corps of Engineers’ New England District utilized the data to examine areas of inundation for

 Category 1, 2, 3, and 4 hurricanes, producing a GIS overview layer on the map. As indicated in

 the “SLOSH” model, the majority of the Providence Terminal East Side Tank Farm is included



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 within a “Category 1” and “Category 2” Hurricane Surge Inundation Zone, nearly the entire

 Providence Terminal is included within the “Category 3” Hurricane Surge Inundation Zone, and

 the entire Providence Terminal is included within the “Category 4” Hurricane Surge Inundation

 Zone:




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 See    URIEDC,       RIGIS,      Hurricane      Surge     Inundation      Areas     (Worst      Case),

 http://www.arcgis.com/home/webmap/viewer.html?useExisting=1&layers=43169083ba5f4566ae

 38be9223450a3d (last visited Aug. 15, 2017).

 134.   The Providence Terminal is at risk of discharging oil and other pollutants due to sea level

 rise, which will become, and is becoming, worse as a result of climate change.

 135.   The Providence Terminal has discharged, and is at risk of discharging, oil and other

 pollutants due to increased and/or more intense precipitation, which will become, and is becoming,

 worse as a result of climate change.

 136.   The Providence Terminal has discharged, and is at risk of discharging, oil and other

 pollutants due to increased magnitude and frequency of storm events, which will become, and are

 becoming, worse as a result of climate change.

 137.   The Providence Terminal is at risk of discharging oil and other pollutants due to increased

 magnitude and frequency of storm surges, which will become, and are becoming, worse as a result

 of climate change.

 138.   Shell is aware of these risks, yet has failed to disclose or integrate sea level rise, increased

 and/or more intense precipitation, increased magnitude and frequency of storm events, and

 increased magnitude and frequency of storm surges—all of which will become, and are becoming,

 worse as a result of climate change—in the design, operation, and management of the Providence

 Terminal, as required under federal law.

                                     Climate Change Impacts

 139.   In Massachusetts v. EPA, the Supreme Court recognized “the enormity of the potential

 consequences associated with manmade climate change” and “[t]he risk of catastrophic harm.”




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 549 U.S. 497, 525-26 (2007). “The harms associated with climate change are serious and well

 recognized.” Id. at 521.

 140.   The U.S. Global Change Research Program produces a National Climate Assessment that

 “assesses the science of climate change and its impacts across the United States, now and

 throughout this century.” J. M. Melillo et al., Climate Change Impacts in the United States: Third

 National Climate Assessment, iv (2014),

 http://s3.amazonaws.com/nca2014/low/NCA3_Climate_Change_Impacts_in_the_United%20Stat

 es_LowRes.pdf?download=1. The Third National Climate Assessment, released in May 2014, was

 produced by “[a] team of more than 300 experts [], guided by a 60-member National Climate

 Assessment and Development Advisory Committee,” and was “extensively reviewed and revised

 based on comments from the public and experts, including a panel of the National Academy of

 Sciences.” Id.

 141.   According to the Third National Climate Assessment:

            a. “Global climate is changing and this is apparent across the United States in a wide

                  range of observations. The global warming of the past 50 years is primarily due to

                  human activities, predominantly the burning of fossil fuels.” Id. at 15.

            b. “Some extreme weather and climate events have increased in recent decades, and

                  new and stronger evidence confirms that some of these increases are related to

                  human activities.” Id.

            c. “Human-induced climate change is projected to continue, and it will accelerate

                  significantly if global emissions of heat-trapping gases continue to increase.” Id.




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           d. “Impacts related to climate change are already evident in many sectors and are

              expected to become increasingly disruptive across the nation throughout this

              century and beyond.” Id.

           e. “Climate change threatens human health and well-being in many ways, including

              through more extreme weather events and wildfire, decreased air quality, and

              diseases transmitted by insects, food, and water.” Id. at 16.

           f. “Infrastructure is being damaged by sea level rise, heavy downpours, and extreme

              heat; damages are projected to increase with continued climate change.” Id.

           g. “Water quality and water supply reliability are jeopardized by climate change in a

              variety of ways that affect ecosystems and livelihoods.” Id.

           h. “Climate disruptions to agriculture have been increasing and are projected to

              become more severe over this century.” Id.

           i. “Ecosystems and the benefits they provide to society are being affected by climate

              change. The capacity of ecosystems to buffer the impacts of extreme events like

              fires, floods, and severe storms is being overwhelmed.” Id. at 17.

           j. “Ocean waters are becoming warmer and more acidic, broadly affecting ocean

              circulation, chemistry, ecosystems, and marine life.” Id.

           k. “Planning for adaptation (to address and prepare for impacts) and mitigation (to

              reduce future climate change, for example by cutting emissions) is becoming more

              widespread, but current implementation efforts are insufficient to avoid

              increasingly negative social, environmental, and economic consequences.” Id.

 142.   According to the Third National Climate Assessment Chapter on the Northeast, Chapter

 16:



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            a. “Sea level rise of two feet, without any changes in storms, would more than triple

               the frequency of dangerous coastal flooding throughout most of the Northeast.”

               Radley Horton et al., The Third National Climate Assessment, Ch. 16: Northeast,

               374 (2014),

               https://www.conservationgateway.org/ConservationPractices/Marine/crr/library/D

               ocuments/USNCA%20Chapter%2016%20Northeast.pdf.

            b. “Between 1895 and 2011, temperatures in the Northeast increased by almost 2˚F

               (0.16˚F per decade), and precipitation increased by approximately five inches, or

               more than 10% (0.4 inches per decade).” Id. at 373.

            c. “Coastal flooding has increased due to a rise in sea level of approximately 1 foot

               since 1900. This rate of sea level rise exceeds the global average of approximately

               8 inches . . . .” Id.

            d. “The Northeast has experienced a greater recent increase in extreme precipitation

               than any other region in the United States; between 1958 and 2010, the Northeast

               saw more than a 70% increase in the amount of precipitation falling in very heavy

               events (defined as the heaviest 1% of all daily events).” Id.

            e. “Infrastructure will be increasingly compromised by climate-related hazards,

               including sea level rise, coastal flooding, and intense precipitation events.” Id. at

               379.

 143.   Following Hurricane Sandy, the Governor of Rhode Island signed into law the Resilient

 Rhode Island Act of 2014, establishing the Rhode Island Executive Climate Change Coordinating

 Council (“EC4”). R.I. Gen. Laws Chapter 46-6.2. By statute, the EC4 releases an annual report.

 The most recent report was released in June 2016.



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 144.   According to the June 2016 EC4 Annual Report:

           a. “The impacts of climate change, from rising sea levels to more extreme rainfall

              events, are already being felt in Rhode Island, like elsewhere in New England. It is

              widely accepted that action is needed now, not just in the future.” EC4, EC4 Annual

              Report, 4 (2016),

              http://www.planning.ri.gov/documents/climate/2016/EC4ARJune%202016.pdf.

           b. “Sea levels have risen over 9 inches in Rhode Island since 1930 as measured at the

              Newport tide gauge. . . . The historic rate of sea level rise (SLR) at the Newport

              tide gauge from 1930 to 2015 is presently 2.72 mm/year or more than an inch per

              decade.” Id. at 28.

           c. “SLR at the Newport tide gauge from 1984-2011 was 4.1mm/year. This rate is

              similar to the mean annual rate of SLR for Newport of 4.8 mm/year for the period

              of 1999 to present as determined from the Permanent Service for Mean Sea Level

              at Newport.” Id. (citation omitted).

           d. “A recent analysis of global sea levels, correcting for spatial bias in the tide gauge

              records, calculates a rate of 1.2 mm/year from 1901–1990, but along the U.S. East

              Coast the rate was 1.8 mm/year during the same period.” Id. at 29 (citations

              omitted).

           e. “Between 1950–1979 and 1980–2009, the SLR rate increase along this coastline

              was 3-4 times higher than the global average. Because of this factor, it is likely that

              this region, which includes Rhode Island, will see an additional 8 to 11+ inches

              above global average SLR by 2100.” Id. (citation omitted).




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          f. “The 20th century increase in the rate of global mean sea level rise is attributed to

             a combination of natural and anthropogenic radiative forcing.” Id. (citation

             omitted).

          g. “NOAA is projecting as much as 6.6 feet of SLR by the end of this century in Rhode

             Island. In the shorter-term, NOAA predicts upwards of 1 foot by 2035 and 1.9 feet

             by 2050.” Id.

          h. “This has critical implications for RI, as approximately 6, 13 and 20 square miles

             of Rhode Island’s coastal areas will be permanently flooded with 1, 3 and 5 feet of

             SLR, respectively, as quantified by Geographic Information System (GIS)

             analysis.” Id.

          i. “Current global [temperature] averages are around 1C degree above pre-industrial

             levels, and rising (see Figure 2.1).” Id. at 31.

          j. “Global temperature changes are less variable than for the contiguous US or RI

             where temperature rise and extremes are more apparent. A series of impacts are

             expected to be significantly worse at 2 degrees global mean temperature rise

             compared to 1.5 degrees.” Id. (citation omitted).

          k. “Between 1950 and 2014 the number of days at TF Green Airport over 80 degrees

             has been increasing.” Id. at 32 (citation omitted).

          l. “Physical infrastructure is vulnerable, including roads due to increased frequency

             of freeze-thaw cycles. Electrical grids, power plants, and rail systems are also

             sensitive to heat as temperatures surpass 90 degrees F.” Id. (citation omitted).

          m. “The water in Narragansett Bay is getting warmer. Over the past 50 years, the

             surface temperature of the Bay has increased 1.4 to 1.6 C (2.5 to 2.9 F). Winter


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                water temperatures in the Bay have increased even more, from 1.6 to 2.0 C (2.9

                to 3.6 F).” Id. at 33 (citation omitted).

            n. “Ocean temperatures are increasing world-wide, but temperature increases in the

                northwestern Atlantic Ocean are expected to be 2-3 times larger than the global

                average.” Id. (citation omitted).

            o. “Climate change is expected to result in more frequent heavy rains, affecting stream

                flow in Northeastern states, with increases in 3-day peak flows contributing to

                increases in flooding risks.” Id. at 40 (citation omitted).

            p. “Rhode Island has experienced a significant increase in both flood frequency and

                flood severity over the past 80 years. RI and throughout most of southern New

                England has experienced a doubling of the frequency of flooding and an increase

                in the magnitude of flood events.” Id. at 41 (citation omitted).

 145.   The Rhode Island General Assembly established CRMC in 1971. CRMC’s “primary

 responsibility is for the preservation, protection, development and where possible the restoration

 of the coastal areas of the state via the implementation of its integrated and comprehensive coastal

 management plans and the issuance of permits for work with the coastal zone of the state.” See

 CRMC, About the CRMC, http://www.crmc.ri.gov/aboutcrmc.html (last visited Aug. 26, 2017).

 146.   According to the Rhode Island Ocean Special Area Management Plan (“SAMP”) Volume

 1:

            a. “There is strong scientific consensus that carbon dioxide in the atmosphere warms

                the air and sea surface, accelerates sea level rise, makes the ocean more acidic,

                causes shifts in precipitation and weather patterns, and leads to more extreme

                weather events, among other effects.” CRMC, Rhode Island Ocean Special Area


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               Management Plan, Vol. 1, Chapter 3: Global Climate Change, 5 (2010) (citations

               omitted),

               http://seagrant.gso.uri.edu/oceansamp/pdf/samp_approved/300_GlobalClimateCh

               ange_APPROVED_5.4_Clean.pdf.

          b. “These effects are already being witnessed globally and in Rhode Island and are

               projected to intensify in years to come.” Id.

          c. “The [] proactive choice that Rhode Island can make is ‘adaptation.’ Adaptation is

               an adjustment in human or natural systems to reduce harm from climate change

               impacts or exploit beneficial opportunities . . . . Reactive adaptation is likely to be

               less efficient and result in lost opportunities.” Id. at 5-6.

          d. “In the long run, warming may also produce other global changes that will affect

               the Ocean SAMP area, positively and negatively. These include, among others, the

               melting of the Greenland ice sheet and Arctic sea ice, and collapse of Atlantic

               currents that would result in serious societal costs of coastal land and infrastructure

               loss and major changes to the marine environment.” Id. at 8.

          e. “Storms and associated storm surge cause damage to ports, seawalls and

               revetments, docks, roads, bridges, wastewater treatment plants and stormwater

               infrastructure.” Id. at 12.

          f.   “Coastal and offshore infrastructure may be subject to greater damage from more

               intense storms and increased decay from increasingly acidic seas.” Id. at 41

               (citation omitted).




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          g. “[C]oastal infrastructure is more likely to be flooded by higher sea levels, and more

               coastal infrastructure will be exposed to higher wave loads and tidal fluxes,

               increasing fatigue and corrosion.” Id.

          h. “Sea level rise of the magnitude predicted could also potentially compromise onsite

               wastewater treatment systems, municipal sewage treatment plants, and stormwater

               infrastructure.” Id. at 43.

          i. “Higher sea levels increase the likelihood of flooding and inundation of coastal

               lands and infrastructure. Any given storm event will surge higher on land because

               the relative sea level is higher than in the past and be exacerbated in the future by

               more intense storms.” Id.

          j. “This can affect the use of infrastructure in ports and harbors both over the short

               term (during a flooding event) and long term (extensive damage from inundation)

               and impact the ability for vessels to access the coast (for example, to unload cargo

               or pick up passengers).” Id. (citation omitted).

          k.   “Higher flood levels and storage-area inundation may also inundate contaminated

               (or potentially contaminated) lands, and/or infrastructure not designed to withstand

               flooding. These areas could require new containment methods to prevent leaching

               (U.S.EPA 2008b).” Id.

          l. “Rhode Island has 47.1 square miles (mi2) (122.0 square kilometers (km2)) of land

               lying within 4.9 vertical feet (1.5 meters) of sea level with an additional 24 mi 2

               (108.8 km2) between 4.9 and 11.5 feet (1.5 and 3.5 meters). This 4.9-foot (1.5-

               meter) contour roughly represents the area that would be inundated during spring




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             high water with a 2.3-foot (0.7 meter) rise in sea level. This sea level rise scenario

             is within current end-of-century projections.” Id.

          m. “By mid-century, the 100-year flood is expected to occur more frequently than

             every 25 years in nearby Woods Hole, Mass., under the high emissions scenario.

             By late century, it is expected to occur more frequently than every two years.” Id.

             at 43 (citation omitted).

          n. “When flooding overtops ports, there is large area of inland inundation because

             ports are typically built in flat, low-lying areas (U.S.EPA 2008b). Options for

             protection include, but are not limited to, elevating facilities, filling land, and/or

             installing shoreline protection structures.” Id. at 44.

          o. “Providence’s vulnerability to flooding stems from two main geographic features:

             its location at the head of Narragansett Bay and its low elevation downtown and

             along the port.” Id.

          p. “During the Hurricane of 1938, Providence experienced a storm surge of more than

             15 feet above mean tide level (MTL), with waves measuring 10 feet above the surge

             level. The hurricane flood waters inundated the city, damaged buildings and other

             infrastructure, and demolished the wharves of the inner harbor. Damage amounted

             to $16.3 million, equivalent to about $225 million in 2000 dollars.” Id. (citation

             omitted).

          q. In 1954, the downtown area was flooded by 12 feet of water. Damage is estimated

             to have been $25.1 million, about $134 million in 2000 dollars. Id. (citations

             omitted).




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          r. “Increased storm intensity will also increase degradation and vulnerability of

             associated infrastructure. Movements of sediment due to increased storminess may

             also decrease safety of structures and increase probability of flooding through

             erosion of coastal land.” Id. at 45 (citation omitted).

          s. “More intense storms, bringing more precipitation in short periods of time, will also

             require increased capacity of stormwater facilities adjacent to coastal infrastructure

             supporting port facilities (U.S.EPA 2008b).” Id.

          t. “The Coastal Resources Management Council (‘Council’) developed and adopted

             on January 15, 2008, Section 145 Climate and Sea Level Rise Policy.” Id. at 55.

                  i. “The Council will prohibit those land-based and offshore development

                     projects that based on a sea level rise scenario analysis will threaten public

                     safety or not perform as designed resulting in significant environmental

                     impacts.” Id. at 56.

                 ii. “The U.S. Army Corps of Engineers (ACOE) has developed and is

                     implementing design and construction standards that consider impacts from

                     sea level rise. These standards and other scenario analysis should be applied

                     to determine sea level rise impacts.” Id.

                iii. “The Council supports the application of enhanced building standards in the

                     design phase of rebuilding coastal infrastructure associated with the Ocean

                     SAMP area, including port facilities, docks, and bridges that ships must pass

                     under.” Id.

                iv. “The Council will reassess coastal infrastructure and seaworthy marine

                     structure building standards periodically not only for sea level rise, but also



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                       for other climate changes including more intense storms, increased wave

                       action, and increased acidity in the sea.” Id.

 147.   “The impacts of climate change upon Rhode Island’s built and natural environments are

 wide-ranging, discernible and documented, and, in many cases growing in severity. The

 climatological sciences with increasing temporal and spatial accuracy project substantial future

 impacts upon Rhode Island, including stronger, more frequent hurricanes and Nor’easters, greater

 frequency of other extreme weather events such as heat waves.” Rhode Island Climate Change

 Commission, Adapting to Climate Change in the Ocean State: A Starting Point (2012),

 http://www.crmc.ri.gov/climatechange/RICCC_2012_Progress_Report.pdf.

 148.   This unfortunate reality has been demonstrated recently in the context of increased severe

 weather events, including Superstorm Sandy. In late October 2012, Motiva Enterprises LLC’s (at

 the time, a joint venture between Royal Dutch Shell plc and Saudi Aramco) Sewaren Terminal in

 New Jersey suffered a 378,000 gallon oil release into the Arthur Kill as a result of a containment

 failure. As reported in the New Jersey news media outlet NJ.com:

                [A]t the Sewaren terminal of Motiva Enterprises, a subsidiary of
                Shell, the tidal surge damaged bulk fuel tanks, releasing
                approximately 378,000 gallons of low-sulfur diesel, officials said.
                Nearly three quarters of that amount escaped the containment area,
                rushing into the Arthur Kill and its tributaries. That’s like 30 tanker
                trucks pouring their contents into the water.

                It represents the largest fuel or oil spill in New Jersey in perhaps a
                decade or more, officials said.

                ‘That’s a major spill,’ said Larry Ragonese, a spokesman for the
                state Department of Environmental Protection. ‘On a normal basis,
                we would have had quite a bit of uproar and media attention.’

                That, of course, did not happen as the region reeled amid death,
                destruction and darkness. Quickly and quietly, though, Shell and the

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                 other two oil companies that experienced leaks — at the Phillips 66
                 refinery in Linden and at the Kinder Morgan terminal in Carteret —
                 moved in to plug breached tanks and contain what had already been
                 released.

                 Within 24 hours, hundreds of workers had responded with oil
                 skimmers, vacuum trucks, water barges, work boats and thousands
                 of feet of containment boom, according to local, state and federal
                 officials who have provided oversight for the work.

 Ryan Hutchins, Oil Spills, Other Hurricane Sandy Damage Present N.J. with Potential Pollution

 Headaches, NJ.COM (Nov. 14, 2012),

 http://www.nj.com/news/index.ssf/2012/11/hurricane_sandy_oil_spills.html.

 149.    Harvard’s Daniel P. Schrag, Sturgis Hooper Professor of Geology in the Faculty of Arts

 and Sciences, stated in a news report regarding Superstorm Sandy that:

                 By midcentury, this will be the new normal . . . How do you deal
                 with extreme heat in the summer? It’s going to be a challenge, but
                 humans are adaptable. It’s not going to be easy, just like a 13-foot
                 storm surge will be the new norm on the Eastern seaboard.

 Edward Mason, Hello Again, Climate Change: Sandy Prompts Renewed Interest and Concern,

 and Schrag Says it Should, HARVARD GAZETTE (Nov. 6, 2012),

 http://news.harvard.edu/gazette/story/2012/11/hello-again-climate-change/.

 150.    Considering the future implications of storms such as Superstorm Sandy, URI Professor

 Austin Becker commented: “[p]orts provide a public good and we all benefit from that . . . and so

 a storm hitting the Port of Providence can have huge ramifications for the whole state.” Preparing

 Ports   to    Ride   Out   the   Storm,   RHODE ISLAND SEA GRANT              (Mar.    19,   2015),

 http://seagrant.gso.uri.edu/preparing-ports-to-ride-out-the-storm/.

              Shell has Long Been Aware of Climate Change and its Related Impacts

 151.    Shell has long been well aware of the present impacts and risks of climate change.


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 152.     Despite knowing of the certainty of rising temperatures and sea levels since at least as early

 as the 1970s, Shell did not use its knowledge to properly prepare its Providence Terminal for such

 risks.

 153.     Shell takes the following public policy position on climate change: “[w]e have recognised

 the importance of the climate challenge for a long time now, and we share our knowledge,

 experience and understanding of the energy system with policymakers.” Shell Global, Climate

 Change – Public Policy Position, http://www.shell.com/sustainability/sustainability-reporting-

 and-performance-data/performance-data/greenhouse-gas-emissions/climate-change-public-

 policy-position.html (last visited Aug. 26, 2017).

 154.     According to Shell, “[w]e were one of the first energy companies to recognise the climate

 change threat and to call for action.” Royal Dutch Shell plc, Responsible Energy Sustainability

 Report, at 12 (2008),

 https://www.unglobalcompact.org/system/attachments/1307/original/COP.pdf?1262614257.

 155.     However, Shell has not disclosed or integrated sea level rise, increased and/or more intense

 precipitation, increased magnitude and frequency of storm events, and increased magnitude and

 frequency of storm surges—all of which will become, and are becoming, worse as a result of

 climate change—in the design, operation, and management of the Providence Terminal.

 156.     Shell is a science and engineering based company that employs roughly 43,000 technical

 and engineering staff and invests $1 billion annually in research and development projects.

 “Thousands of Shell scientists, researchers and engineers around the globe are working to develop

 tomorrow’s ground-breaking solutions, collaborating with experts and specialists beyond our

 industry.”    Shell   Global,   Innovation    Through     R&D,     http://www.shell.com/energy-and-




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 innovation/overcoming-technology-challenges/innovation-through-research-and-

 development.html (last visited Aug. 15, 2017).

 157.     Shell has pursued collaborative research with leading universities such as University of

 California, Berkeley; Massachusetts Institute of Technology; Delft University; Imperial College

 London; The Institute for Sustainable Process Technology; Research Institute of Petroleum

 Exploration and Development; and Shanghai Advanced Research Institute of the Chinese

 Academy of Sciences. Shell Global, Innovative Collaborations, Academia and Research,

 http://www.shell.com/energy-and-innovation/innovating-together/innovative-collaborations.html

 (last visited Aug. 15, 2017).

 158.     Shell is a participant in numerous international initiatives related to climate change,

 including, but not limited to: founding member of the International Emissions Trading Association

 (1999); Carbon Disclosure Project (participation since 2003); World Business Council for

 Sustainable Development; Prince of Wales Corporate Leaders Group on Climate Change (2005-

 2015), “Communiqué series,” 2012 and 2014 Communiqués; World Bank: 2014 Carbon Pricing

 Statement, 2015 Zero Routine Flaring by 2030 Initiative, and Carbon Pricing Leadership

 Coalition; Global CCS Institute; 2015 Oil and Gas Climate Initiative; Paying for Carbon Coalition

 – 2015: letter of six CEOs to Ms. Christina Figueres, Executive Secretary of the UNFCCC; Energy

 Transitions Commissions; and Taskforce for Climate-Related Financial Disclosures (TCFD). Shell

 Global, Climate Change – Public Policy Position, Our Efforts,

 http://www.shell.com/sustainability/sustainability-reporting-and-performance-data/performance-

 data/greenhouse-gas-emissions/climate-change-public-policy-position.html (last visited Aug. 26,

 2017).




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 159.       For over 40 years, Shell has claimed to develop “scenarios” in order to “make crucial

 choices in uncertain times and tackle tough energy and environmental issues.” Shell Global,

 Earlier                Scenarios,          http://www.shell.com/energy-and-innovation/the-energy-

 future/scenarios/new-lenses-on-the-future/earlier-scenarios.html (last visited Aug. 15, 2017).

 Since the 1990s, Shell claims to have “help[] other organisations in developing their own scenarios

 in various subject areas,” including “climate change with the Intergovernmental Panel on Climate

 Change [(“IPCC”)].” Peter Knight, The Shell Report: Profits and Principles – does there have to

 be     a     choice?      (1998),   http://www.shell.com/sustainability/sustainability-reporting-and-

 performance-data/sustainability-

 reports/previous/_jcr_content/par/expandablelist/expandablesection_332888471.stream/1454157

 664246/7419d7c0b96ee36e92059e205107e3106d35d9d8f3a4909c8523f49ded9e4727/shell-

 sustainability-report-1998-1997.pdf.

 160.       The IPCC “was established by the United Nations Environment Programme (UNEP) and

 the World Meteorological Organization (WMO) in 1988 to provide the world with a clear

 scientific view on the current state of knowledge in climate change and its potential environmental

 and               socio-economic               impacts.”            IPCC,              Organization,

 http://www.ipcc.ch/organization/organization.shtml (last visited Aug. 27, 2017).

 161.       Shell has contributed its “scenarios” to IPCC Assessment Reports and Special Reports

 since as early as 1995 and as recently as 2007.

 162.       Shell scientists have contributed to IPCC Assessment Reports in the capacities of

 Reviewer, Contributing Author, Expert Reviewer, and Lead Author since the Second Assessment

 Report and up until the most recent Fifth Assessment Report. Shell scientists served in Working

 Groups I and III on the topics of Scientific Basis and Mitigation of Climate Change, respectively.



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 163.   Shell scientists have further contributed to IPCC Special Reports, including working on

 the 1994 report entitled Radiative Forcing of Climate Change and An Evaluation of the IPCC IS92

 Emission Scenarios, https://www.ipcc.ch/pdf/special-reports/cc1994/climate_change_1994.pdf;

 the           2000             report           entitled             Emissions           Scenarios,

 https://www.ipcc.ch/ipccreports/sres/emission/emissions_scenarios.pdf; the 2000 report entitled

 Methodological        and       Technological         Issues    in       Technology       Transfer,

 http://www.ipcc.ch/ipccreports/sres/tectran/index.php?idp=0; and the 2005 report entitled Carbon

 Dioxide          Capture           and          Storage,          https://www.ipcc.ch/pdf/special-

 reports/srccs/srccs_wholereport.pdf.

 164.   Shell’s decades-long development of scenarios illustrates an embedded company practice

 of preparedness. Shell claims that the scenarios have “helped us anticipate and adapt to momentous

 events like the oil shocks of the 1970s, the collapse of communist Europe in 1989, the surge in

 world energy demand and the threat of climate change.” Shell Global, Earlier Scenarios,

 http://www.shell.com/energy-and-innovation/the-energy-future/scenarios/new-lenses-on-the-

 future/earlier-scenarios.html (last visited Aug. 15, 2017).

 165.   Despite acknowledging the value of anticipation and adaptation, Shell has not disclosed or

 integrated sea level rise, increased and/or more intense precipitation, increased magnitude and

 frequency of storm events, and increased magnitude and frequency of storm surges—all of which

 will become, and are becoming, worse as a result of climate change—in the design, operation, and

 management of the Providence Terminal.

 166.   As described in the Abstract of a 1969 paper authored by Shell entitled An Ocean Data

 Gathering Program for the Gulf of Mexico, in 1967, Shell initiated a study to prepare for increasing

 investments in deepwater oil and gas projects. M. M. Patterson (Shell Development Co.), An



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 Ocean Data Gathering Program for the Gulf of Mexico, Abstract, Fall Meeting of the Society of

 Petroleum Engineers (1969), https://www.onepetro.org/conference-paper/SPE-2638-MS. The

 Abstract states that “[d]ata on waves, winds, and currents are also needed for the development and

 calibration of environmental forecasting theories,” and “[the study’s] major task is to measure and

 record storm data.” Id.

 167.   In 1972, the American Petroleum Institute (“API”) released a status report on all group-

 sponsored environmental research projects. Shell is among the thirty-nine “company affiliations

 of committee members” listed in the status report. API, Environmental Research, A Status Report,

 at IV-1 (Jan. 1972), http://files.eric.ed.gov/fulltext/ED066339.pdf. The report contains a summary

 of a 1968 report on Sources, Abundance, and Fate of Gaseous Atmospheric Pollutants prepared

 for API. Id. at III-9. The API status report refers to the research initiative’s discussion of CO2 as a

 “brief review of current thinking.” Id.

 168.   The Sources, Abundance, and Fate of Gaseous Atmospheric Pollutants report, by Stanford

 Research Institute (“SRI”), discusses the implications of a CO2 generated “greenhouse effect” and

 consequential temperature increase, asserting that “[i]f the earth’s temperature increases

 significantly, a number of events might be expected to occur, including the melting of the Antarctic

 ice cap, a rise in sea levels, warming of the oceans, and an increase in photosynthesis.” Robinson

 et al., Sources, Abundance, and Fate of Gaseous Atmospheric Pollutants, SRI, at 108 (1968),

 excerpt at https://www.smokeandfumes.org/documents/document16. In the report, SRI further

 states that “[a]lthough there are other possible sources for the additional CO2 now being observed

 in the atmosphere, none seems to fit the presently observed situation as well as the fossil fuel

 emanation theory.” Id. at 109.




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 169.    In 1986, Shell circulated an internal report labeled “Confidential” and titled “The

 Greenhouse Effect.” The report’s summary states that “[m]an-made carbon dioxide, released into

 and accumulated in the atmosphere, is believed to warm the earth through the so-called greenhouse

 effect.” Shell Internationale Petroleum, The Greenhouse Effect, at 1 (1986), excerpt at

 https://thecorrespondent.com/6286/if-shell-knew-climate-change-was-dire-25-years-ago-why-

 still-business-as-usual-today/692773774-4d15b476. The report predicts the impacts of such

 warming, stating that “[m]athematical models of the earth’s climate indicate that if this warming

 occurs then it could create significant changes in sea level, ocean currents, precipitation patterns,

 regional temperature and weather.” Id. The report further acknowledges that “[w]ith fossil fuel

 combustion being the major source of CO2 in the atmosphere, a forward looking approach by the

 energy industry is clearly desirable . . .” Id.

 170.    Despite such extensive early research—both conducted by Shell and presented to Shell—

 regarding climate change and its impacts, Shell has not disclosed or integrated sea level rise,

 increased and/or more intense precipitation, increased magnitude and frequency of storm events,

 and increased magnitude and frequency of storm surges—all of which will become, and are

 becoming, worse as a result of climate change—in the design, operation, and management of the

 Providence Terminal.

 171.    Meanwhile, Shell did incorporate such risks in ongoing company investments.

 172.    A 1989 New York Times article describes Shell’s efforts to design and construct a natural-

 gas production platform in the North Sea that would account for sea level rise. According to the

 article, in anticipation of sea level rise throughout the duration of the platform’s lifespan, the

 company’s engineers “are considering raising the platform from the standard 30 meters – the

 height now thought necessary to stay above the waves that come in a once-a-century storm – to 31



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 or 32 meters.” Greenhouse Effect: Shell Anticipates A Sea Change, THE NEW YORK TIMES (Dec.

 20, 1989), http://www.nytimes.com/1989/12/20/business/greenhouse-effect-shell-anticipates-a-

 sea-change.html. The additional cost of a one-meter increase was sixteen million dollars (1989

 USD Value). Id.

 173.    In the early 1990s, Shell joined Mobil, Imperial Oil, and Nova Scotia Resources Limited

 in the Sable Offshore Energy Project to examine oil exploration off the coast of Nova Scotia. The

 project produced a Development Plan containing an Environmental Impact Statement, which

 addressed “Global Warming Sea-Level Rise.” The Statement reads:

               Numerous predictions of sea-level rise due to global warming have
               been made during the past decade (NRC, 1979; Shaw, Taylor and
               Forbes, 1992). The prediction of IPCC working group (World
               Meteorological Organization -- WMO, 1990) was that the mean sea-
               level rise would increase by 16-32 cm (with mean increase of 20
               cm) by the year 2030; and by 33-75 cm (mean increase of 45 cm) by
               the year 2070. There are doubts that these predictions would apply
               across the globe.

               The impact of a global warming sea-level rise may be particularly
               significant in Nova Scotia. The long-term tide gauge records at a
               number of locations along the N.S. coast have shown sea level has
               been rising over the past century. The water level data from the
               Halifax Harbour tide gauge (since 1851) have shown a rate of sea-
               level rise of about 3.18 mm/yr, based on records from 1896 to 1990,
               and of 3.63 mm/yr based on data from 1920 to 1990 (Shaw, Taylor
               and Forbes, 1992).

               The estimated increase in water level due to global warming could
               vary from 0.20 to 1.4 m by the middle of the next century
               (Environment Canada, 1988). For the design of coastal and
               offshore structures, an estimated rise in water level, due to global
               warming, of 0.5 m to [sic] may be assumed for the proposed project
               life (25 years). However, there was no strong scientific support for
               such       an     estimate     given       in     the     literature.

 ExxonMobil, Development Plan: Sable Offshore Energy Project, Volume 3, Chapter 4

 (Environmental Setting), at 4-76 – 4-77 (emphasis added),



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 http://soep.com/about-the-project/development-plan-application/ (last visited Aug. 15, 2017).

 174.   Shell integrated climate change impacts in project infrastructure design nearly three

 decades ago, but has failed to similarly disclose or integrate sea level rise, increased and/or more

 intense precipitation, increased magnitude and frequency of storm events, and increased magnitude

 and frequency of storm surges—all of which will become, and are becoming, worse as a result of

 climate change—in the design, operation, and management of the Providence Terminal.

 175.   In 1991, Shell published a twenty-eight minute educational film entitled “Climate of

 Concern,” which warned about the risks of climate change. See Damian Carrington and Jelmer

 Mommers, ‘Shell knew’: oil giant’s 1991 film warned of climate change danger, THE GUARDIAN

 (Feb. 28, 2017), https://www.theguardian.com/environment/2017/feb/28/shell-knew-oil-giants-

 1991-film-warned-climate-change-danger. Shell claimed the warning about climate change was

 “endorsed by a uniquely broad consensus of scientists in their report to the United Nations at the

 end of 1990.” Id. The film says that, “global warming is not yet certain, but many think that to

 wait for final proof would be irresponsible. Action now is seen as the only safe insurance.” Id.

 176.   Starting in 1998, Shell began to release annual Sustainability Reports.

 177.    The 1998 report, entitled Profits and Principles – does there have to be a choice?, says of

 the greenhouse effect: “there is concern that it will cause the world to warm up, which could lead

 to a change in climate and local weather patterns, possibly with increased droughts, floods, storms

 and sea level rise.” Peter Knight, The Shell Report 1998: Profits and Principles – does there have

 to be a choice?, at 40 (1998), http://www.shell.com/sustainability/sustainability-reporting-and-

 performance-data/sustainability-

 reports/previous/_jcr_content/par/expandablelist/expandablesection_332888471.stream/1454157




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 664246/7419d7c0b96ee36e92059e205107e3106d35d9d8f3a4909c8523f49ded9e4727/shell-

 sustainability-report-1998-1997.pdf.

 178.    Shell was an early member of the Global Climate Coalition (“GCC”), but withdrew its

 membership in April 1998 when the GCC began lobbying against establishing legally binding

 targets and timetables in the Kyoto Protocol, which developed milestones aimed to reduce CO2

 emissions. Id. at 41.

 179.    According to Shell, “[t]he main disagreement centred on the Kyoto protocol which aims to

 cut overall greenhouse gas emissions by 5% by the year 2012. The GCC is actively campaigning

 against legally binding targets and timetables as well as ratification by the US government. The

 Shell view is that prudent precautionary measures are called for.” Id.

 180.    Shell has since continued to publicly reiterate its support for international agreements, such

 as the Kyoto Protocol and the Paris Climate Agreement. Chris Noon, Shell CEO Targets

 Washington Over Kyoto, FORBES (Dec. 5, 2006), https://www.forbes.com/2006/12/05/shell-

 kyoto-ceo-face-cx_cn_1205autofacescan02.html (Former Shell CEO Jeroen van der Veer on the

 Kyoto Protocol: “For us as a company, the debate about CO2 is over. We’ve entered a debate about

 what we can do about it.”); Samantha Raphelson, Energy Companies Urge Trump to Remain in

 Paris         Climate           Agreement,            NPR          (May           18,          2017),

 http://www.npr.org/2017/05/18/528998592/energy-companies-urge-trump-to-remain-in-paris-

 climate-agreement (Shell CEO Ben Van Beurden on the Paris Climate Agreement: “[w]e believe

 climate change is real;” “We believe that the world needs to go through an energy transition to

 prevent a very significant rise in global temperatures. And we need to be part of that solution in

 making it happen.”).




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 181.   Despite providing such stark warnings about climate change, Shell has failed to disclose or

 integrate sea level rise, increased and/or more intense precipitation, increased magnitude and

 frequency of storm events, and increased magnitude and frequency of storm surges—all of which

 will become, and are becoming, worse as a result of climate change—in the design, operation, and

 management of the Providence Terminal.

 182.   In August 2005, Shell’s Mars Platform in the Gulf of Mexico suffered damages during

 Hurricane Katrina, not coming back online until May 2006. The storm forced Shell to begin

 “preparing for hurricanes in the Gulf of Mexico.” Shell, The Shell Sustainability Report 2006:

 Meeting           the          Energy           Challenge,           at         23         (2006),

 https://www.unglobalcompact.org/system/attachments/1914/original/COP.pdf?1262614296.             In

 its 2006 Sustainability Report, Shell stated:

                [w]e have used the knowledge gained from the Mars recovery to
                further improve the ability of our offshore equipment to withstand
                hurricanes and to reduce disruptions when equipment is damaged . .
                . In anticipation of future storms, we are improving our
                communications systems, increasing the number of helicopters and
                ships and spare parts we have on call, and working with others to
                find alternative ways to get oil to refineries safely when part of the
                pipeline network is damaged.
 Id.

 183.   Despite taking mitigating steps at its Mars Platform in anticipation of future storms, Shell

 has failed to disclose or integrate sea level rise, increased and/or more intense precipitation,

 increased magnitude and frequency of storm events, and increased magnitude and frequency of

 storm surges—all of which will become, and are becoming, worse as a result of climate change—

 in the design, operation, and management of the Providence Terminal.

 184.   In 2013, Shell released the company’s most recent scenario report applying “New Lenses

 on the Future,” and providing detailed assessments of the causes of and risks posed by climate



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 change. The report, entitled A Shift in Perspective for a World in Transition, addresses an

 impending “resource stress nexus” between increasing demand and decreasing supply of food,

 water, and energy, stating: “[c]limate change could lead to extreme weather conditions, such as

 lengthy droughts and torrential flooding that would impact agriculture and livelihoods. Water

 shortages could intensify social and political instability, provoke conflicts, and cause irreparable

 environmental damage.” Shell International BV, New Lens Scenarios, A Shift in Perspective for a

 World in Transition, at 11 (2013),

 http://www.shell.com/promos/english/_jcr_content.stream/1448477051486/08032d761ef7d81a4

 d3b1b6df8620c1e9a64e564a9548e1f2db02e575b00b765/scenarios-newdoc-english.pdf.

 185.      One year later, Shell released its first supplement to its New Lens Scenarios, examining

 sustainable city futures. The report, entitled New Lenses On Future Cities, addresses “climate

 adaptation” in coastal cities—including Rotterdam, where climate change resiliency efforts to

 mitigate against coastal flooding, heavy rains, and rising sea levels are under-way—demonstrating

 Shell’s extensive knowledge of the climate change challenges facing coastal communities. Shell

 International BV, New Lenses On Future Cities, A New Lens Scenarios Supplement, at 13-15

 (2014), http://www.shell.com/energy-and-innovation/the-energy-future/scenarios/new-lenses-on-

 future-

 cities/_jcr_content/par/tabbedcontent/tab/textimage.stream/1447854282580/c391a74670d29b3e8

 f4f64a70a6d5653fb1f9fbeef0ede22dd2daccdb5cdab2c/newlensesonfuturecities-june-2014.pdf.

 186.      In 2016, Shell released its latest New Lens Scenarios supplement, a report entitled A Better

 Life With A Healthy Planet: Pathways to Net-Zero Emissions. This scenario report states that “[t]o

 stabilise the climate requires achieving net-zero emissions globally to arrest the accumulation of

 CO2 in the atmosphere and bring down the concentration of other greenhouse gases such as



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 methane. The more quickly this is realised, the lower the risks and impacts of climate change . . .”

 Shell International BV, A Better Life with a Healthy Planet: Pathways to Net-Zero Emissions, A

 New Lens Scenarios Supplement, at 14 (2016), http://www.shell.com/energy-and-innovation/the-

 energy-future/scenarios/a-better-life-with-a-healthy-

 planet/_jcr_content/par/tabbedcontent/tab/textimage.stream/1475857466913/a1aa5660d50ab799

 42f7e4a629fcb37ab93d021afb308b92c1b77696ce6b2ba6/scenarios-nze-brochure-interactive-

 afwv9-interactive.pdf. However, in the report, Shell admits that “we have no immediate plans to

 move to a net-zero emissions portfolio over our investment horizon of 10–20 years.” Id. at 1.

 187.   Despite continuing to utilize scenarios as a business mechanism to adapt and prepare for

 momentous events such as climate change, as well as the risks brought on by those events—

 including, but not limited to, extreme weather conditions, torrential flooding, and impacts to

 coastal communities—Shell has failed to disclose or integrate sea level rise, increased and/or more

 intense precipitation, increased magnitude and frequency of storm events, and increased magnitude

 and frequency of storm surges—all of which will become, and are becoming, worse as a result of

 climate change—in the design, operation, and management of the Providence Terminal.

 188.   Included among Shell’s list of environmental standards is “preventing spills and leaks of

 hazardous           materials.”          Shell           Global,          Our            Approach,

 http://www.shell.com/sustainability/environment/our-approach-sustainability.html (last visited

 Aug. 27, 2017). Shell states that “[t]o avoid spills and leaks of hazardous substances, we work

 hard to make sure our facilities are well designed, safely operated and appropriately inspected and

 maintained.” Id.

 189.   Contrary to these statements, Shell is not preventing spills and leaks of hazardous materials

 because Shell has failed to disclose or integrate sea level rise, increased and/or more intense



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 precipitation, increased magnitude and frequency of storm events, and increased magnitude and

 frequency of storm surges—all of which will become, and are becoming, worse as a result of

 climate change—in the design, operation, and management of the Providence Terminal.

 190.   Shell claims to operate under a “Commitment and Policy on Health, Security, Safety, the

 Environment and Social Performance.” This standard commits Shell to the following:

                Pursue the goal of no harm to people; [p]rotect the environment;
                [u]se material and energy efficiently to provide our products and
                services; [r]espect our neighbours and contribute to the societies in
                which we operate; [d]evelop energy resources, products and
                services consistent with these aims; [p]ublicly report on our
                performance; [p]lay a leading role in promoting best practice in our
                industries; [m]anage HSSE & SP matters as any other critical
                business activity; and [p]romote a culture in which all Shell
                employees share this commitment.

 Shell Global, HSSE and Social Performance – Commitment and Policy,

 http://www.shell.com/sustainability/our-approach/commitments-policies-and-

 standards/hsse-and-social-performance.html (last visited Aug. 15, 2017).

 191.   These     principles    are     reiterated    in    Shell    Global,     Our     Approach,

 http://www.shell.com/sustainability/environment/our-approach-sustainability.html (last visited

 Aug. 15, 2017), wherein Shell claims to take the following approach to the environment: “[w]e are

 committed to protect the environment, respect our neighbours, cause no harm to people, and help

 the world move towards a lower-carbon future,” and “[b]eing responsible means understanding

 the impact Shell can have on the environment and the communities we share it with – before,

 during and at the end of our operations. We always try to make a positive contribution to the local

 environments in which we operate and seek to reduce any potential negative impacts.” “For Shell,

 responsible means respecting national laws and international standards, matching or exceeding




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 global best practice and setting our own rigorous performance standards. Our core values of

 honesty, integrity and respect for people underpin our decisions and actions.” Id.

 192.   Shell has not fulfilled these commitments because Shell has failed to disclose or integrate

 sea level rise, increased and/or more intense precipitation, increased magnitude and frequency of

 storm events, and increased magnitude and frequency of storm surges—all of which will become,

 and are becoming, worse as a result of climate change—in the design, operation, and management

 of the Providence Terminal, placing communities and the environment at risk.

 193.   In discussing “Adaptation” to climate change in its 2016 Sustainability Report, Shell stated:

                [t]he effects of climate change mean that governments, businesses
                and local communities are adapting their infrastructure to the
                changing environment. At Shell, we are taking steps at our facilities
                around the world to ensure that they are resilient to climate change.
                This reduces the vulnerability of our facilities and infrastructure to
                potential extreme variability in weather conditions.

                We take different approaches to adaptation for existing facilities and
                new projects. We progressively adjust our design standards for new
                projects while, for existing assets, we identify those that are most
                vulnerable to climate change and take appropriate action.

 Royal Dutch Shell plc, Sustainability Report, at 19 (2016),

 https://www.unglobalcompact.org/system/attachments/cop_2017/375091/original/entire_shell_sr

 16.pdf?1491999994. The report further states that “Shell has a rigorous approach to understanding,

 managing and mitigating climate risks in our facilities.” Id.

 194.   Engineers working in the oil and gas industry and other major infrastructure projects along

 the coastal United States customarily take climate change impacts into account throughout their

 planning, decision-making, and project construction and design processes.




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 195.   Engineers exercising skill and judgment reasonably expected of similarly situated

 professionals make planning and design decisions based on information regarding climate change-

 induced impacts.

 196.   For example, the Army Corps of Engineers issued a regulation in 2013 entitled

 “Incorporating Sea Level Change in Civil Works Programs.” That regulation states that

                [sea level change] can cause a number of impacts in coastal and
                estuarine zones, including changes in shoreline erosion, inundation
                or exposure of low-lying coastal areas, changes in storm and flood
                damages, shifts in extent and distribution of wetlands and other
                coastal habitats, changes to groundwater levels, and alterations to
                salinity intrusion into estuaries and groundwater systems.

 Department of the Army, Army Corps of Engineers, Regulation No. 1100-2-8162 at Appendix B,

 B-1             (Dec.             31,             2013)             (citation            omitted),

 http://www.publications.usace.army.mil/Portals/76/Publications/EngineerRegulations/ER_1100-

 2-8162.pdf.

 197.   The Army Corps acknowledges that sea level change is likely to impact coastal projects,

 and “[a]s a result, managing, planning, engineering, designing, operating, and maintaining for [sea

 level change] must consider how sensitive and adaptable 1) natural and managed ecosystems and

 2) human and engineered systems are to climate change and other related global changes.” Id. at

 2.

 198.   The Army Corps’ regulation also states that “[h]istoric trends in local MSL [mean sea

 level] are best determined from tide gauge records. The NOAA Center for Operational

 Oceanographic Products and Services (CO-OPS) provides historic information and local MSL

 trends for tidal stations operated by NOAA/NOS in the US.” Id. at Appendix B, B-2 (citation

 omitted).




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 199.   The historic rate of relative sea level change at relevant local tide stations (as shown in the

 graphs below for the Providence and Newport Tide Gauges) should be used as the low rate for

 analysis, because it is a linear extrapolation from historic tide gauge measurements and does not

 account for future acceleration of sea level rise, ice sheet melt, or sea level rise due to warmer

 water occupying a greater volume.




 NOAA, Mean Sea Level Trend Measured at the Providence Tide Gauge, 8454000 TIDES &

 CURRENTS,

 https://tidesandcurrents.noaa.gov/sltrends/sltrends_station.shtml?stnid=8454000        (last   visited

 Aug. 17, 2017).




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 NOAA, Mean Sea Level Trend Measured at the Newport Tide Gauge, 8452660, TIDES &

 CURRENTS, https://tidesandcurrents.noaa.gov/sltrends/sltrends_station.shtml?stnid=8452660

 (last visited Aug. 15, 2017).

 200.   Shell has not addressed the threats posed by climate change to its Providence Terminal,

 placing surrounding communities and ecosystems at risk of catastrophic discharges caused by sea

 level rise, increased and/or more intense precipitation, increased magnitude and frequency of storm

 events, and increased magnitude and frequency of storm surges—all of which will become, and

 are becoming, worse as a result of climate change.

 201.   Shell’s knowing disregard of the imminent risks of sea level rise, increased and/or more

 intense precipitation, increased magnitude and frequency of storm events, and increased magnitude

 and frequency of storm surges—all of which will become, and are becoming, worse as a result of

 climate change that threaten the Providence Terminal and its continuing failure to fortify the

 Providence Terminal against such known risks makes Shell liable for violations of the CWA, as

 described below.

                                     CLAIMS FOR RELIEF

                                       First Cause of Action

             Violation of the Clean Water Act – Unlawful Certification of SWPPP

 202.   Plaintiff incorporates the allegations contained in the above paragraphs as though fully set

 forth herein.

 203.   The Permit requires that “[t]he SWPPP shall be signed by the permittee in accordance with

 RIPDES Rule 12 . . .” Permit Part I.C.2, at 12.

 204.   RIPDES Rule 12 requires that for corporations, “[a]ll permit applications shall be signed .

 . . by a responsible corporate officer.” R.I. Code R. 25-16-14:12(a). Further,



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                For the purpose of this section, a responsible corporate officer
                means: (i) A president, secretary, treasurer, or vice-president of the
                corporation in charge of a principal business function, or any other
                person who performs similar policy or decision-making functions
                for the corporation, or (ii) The manager of one or more
                manufacturing, production, or operating facilities employing more
                than 250 persons or having gross annual sales or expenditures
                exceeding $25 million (in second-quarter 1980 dollars), if authority
                to sign documents has been assigned or delegated to the manager in
                accordance with corporate procedures.
 Id.
 205.   Similarly, the federal regulations for NPDES permits found at 40 C.F.R. § 122.22 require

 that a permit application submitted by a corporation be signed by a responsible corporate officer.

 40 C.F.R. § 122.22(a)(1). Further,

                [f]or the purposes of this section, a responsible corporate officer
                means: (i) A president, secretary, treasurer, or vice-president of the
                corporation in charge of a principal business function, or any other
                person who performs similar policy- or decision-making functions
                for the corporation, or (ii) the manager of one or more
                manufacturing, production, or operating facilities, provided, the
                manager is authorized to make management decisions which govern
                the operation of the regulated facility including having the explicit
                or implicit duty of making major capital investment
                recommendations, and initiating and directing other comprehensive
                measures to assure long term environmental compliance with
                environmental laws and regulations; the manager can ensure that the
                necessary systems are established or actions taken to gather
                complete and accurate information for permit application
                requirements; and where authority to sign documents has been
                assigned or delegated to the manager in accordance with corporate
                procedures.
 Id. (emphasis added). 40 C.F.R. § 122.22(a)(1) also notes that:
                EPA does not require specific assignments or delegations of
                authority to responsible corporate officers identified in
                § 122.22(a)(1)(i). The Agency will presume that these responsible
                corporate officers have the requisite authority to sign permit
                applications unless the corporation has notified the Director to the
                contrary. Corporate procedures governing authority to sign permit
                applications may provide for assignment or delegation to applicable
                corporate positions under § 122.22(a)(1)(ii) rather than to specific
                individuals.

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 206.   Both R.I. Code R. 25-16-14:12(d) and the federal regulations at 40 C.F.R. § 122.22(a)(1)

 require Shell to submit the following certification:

                I certify under penalty of law that this document and all attachments
                were prepared under the direction or supervision in accordance with
                a system designed to assure that qualified personnel properly gather
                and evaluate the information submitted. Based on my inquiry of the
                person or persons who manage the system, or those persons directly
                responsible for gathering the information, the information submitted
                is, to the best of my knowledge and belief, true, accurate, and
                complete. I am aware that there are significant penalties for
                submitting false information, including the possibility of fine and
                imprisonment for knowing violations.

 207.   Shell signed and submitted the required certification at the time of submittal of its RIPDES

 permit applications.

 208.   Shell signed and submitted the required certification at the time of development and

 submission of its SWPPP.

 209.   Shell signed these certifications without disclosing information in its possession that was

 relied on by the company in its business decision-making regarding climate change-induced

 factors such as sea level rise, increased and/or more intense precipitation, increased magnitude and

 frequency of storm events, and increased magnitude and frequency of storm surge—all of which

 will become, and are becoming, worse as a result of climate change.

 210.   Shell signed these certifications without developing and implementing a SWPPP based on

 information in its possession that was relied on by the company in its business decision-making

 regarding factors such as sea level rise, increased and/or more intense precipitation, increased

 magnitude and frequency of storm events, and increased magnitude and frequency of storm

 surge—all of which will become, and are becoming, worse as a result of climate change.

 211.   Shell signed these certifications without addressing spill prevention and control procedures

 based on information in its possession that was relied on by the company in its business decision-

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 making, regarding factors such as sea level rise, increased and/or more intense precipitation,

 increased magnitude and frequency of storm events, and increased magnitude and frequency of

 storm surge—all of which will become, and are becoming, worse as a result of climate change.

 212.    Shell’s failure to disclose and consider climate changed-induced factors such as sea level

 rise, increased and/or more intense precipitation, increased magnitude and frequency of storm

 events, and increased magnitude and frequency of storm surge—all of which will become, and are

 becoming, worse as a result of climate change—renders its SWPPP certification untrue, inaccurate,

 and incomplete, and therefore unlawful under RIPDES Rule 12 and 40 C.F.R. § 122.22.

 213.    Shell’s failure to prepare the SWPPP in accordance with the requirements identified in

 RIPDES Rule 12 and 40 C.F.R. § 122.22, with which Shell certified compliance, is a violation of

 the Permit and the Clean Water Act.

                                       Second Cause of Action

  Violation of the Clean Water Act – Failure to Prepare SWPPP in Accordance with Good
                                  Engineering Practices

 214.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully set

 forth herein.

 215.    The Permit requires that: “The SWPPP shall be prepared in accordance with good

 engineering practices . . .” Permit Part I.C.1, at 12.

 216.    Shell’s SWPPP for the Providence Terminal was not prepared in accordance with good

 engineering practices because the SWPPP was not based on information consistent with the duty

 of care applicable to engineers.

 217.    The SWPPP was not prepared based on information known to reasonably prudent

 engineers, such as information about sea level rise, increased and/or more intense precipitation,




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 increased magnitude and frequency of storm events, and increased magnitude and frequency of

 storm surge—all of which will become, and are becoming, worse as a result of climate change.

 218.    The SWPPP was not prepared based on information known to Shell, such as information

 about sea level rise, increased and/or more intense precipitation, increased magnitude and

 frequency of storm events, and increased magnitude and frequency of storm surge—all of which

 will become, and are becoming, worse as a result of climate change. See supra, ¶¶ 151-201.

 219.    For these reasons, Shell has failed to prepare a SWPPP in accordance with good

 engineering practices, in violation of the Permit and the Clean Water Act.

                                        Third Cause of Action

          Violation of the Clean Water Act – Failure to Identify Sources of Pollution

 220.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully set

 forth herein.

 221.    The Permit requires that: “The SWPPP shall . . . identify potential sources of pollutants,

 which may reasonably be expected to affect the quality of storm water discharges associated with

 industrial activity from the facility.” Permit Part I.C.1, at 12.

 222.    Shell has failed to identify sources of pollutants resulting from sea level rise, increased

 and/or more intense precipitation, increased magnitude and frequency of storm events, and

 increased magnitude and frequency of storm surge—all of which will become, and are becoming,

 worse as a result of climate change—that are reasonably expected and anticipated by Shell to affect

 the quality of the stormwater discharges from the Providence Terminal.

 223.    The Permit further requires that:

                 [t]he SWPPP must provide a description of potential sources which
                 may be reasonably expected to add significant amounts of pollutants
                 to storm water discharges or which may result in the discharge of
                 pollutants during dry weather from separate storm sewers draining

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                 the facility. It must identify all activities and significant materials,
                 which may potentially be significant pollutant sources.

 Permit Part I.C.5.a, at 12.

 224.   The SWPPP does not address sources of pollutants resulting from sea level rise, increased

 and/or more intense precipitation, increased magnitude and frequency of storms events, and

 increased magnitude and frequency of storm surge—all of which will become, and are becoming,

 worse as a result of climate change—which may be reasonably expected to add significant amounts

 of pollutants to storm water discharges or which may result in the discharge of pollutants during

 dry weather from separate storm sewers draining the facility.

 225.   The SWPPP fails to identify all activities and significant materials, which may potentially

 be significant pollutant sources due to sea level rise, increased and/or more intense precipitation,

 increased magnitude and frequency of storms events, and increased magnitude and frequency of

 storm surge—all of which will become, and are becoming, worse as a result of climate change,

 and are known to Shell.

 226.   For these reasons, Shell’s SWPPP fails to comply with the requirements of the Permit, in

 violation of the Permit and the Clean Water Act.

                                       Fourth Cause of Action

 Violation of the Clean Water Act – Failure to Describe and Implement Practices to Reduce
                         Pollutants and Ensure Permit Compliance

 227.   Plaintiff incorporates the allegations contained in the above paragraphs as though fully set

 forth herein.

 228.   The Permit requires that:

                 the SWPPP shall describe and ensure implementation of Best
                 Management Practices (BMPs) which are to be used to reduce or
                 eliminate the pollutants in storm water discharges associated with



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                 industrial activity at the facility and to assure compliance with the
                 terms and conditions of this permit.

 Permit Part I.C.1, at 12.

 229.   The SWPPP for the Providence Terminal fails to describe or ensure implementation of

 BMPs that will be used to address pollutant discharges resulting from sea level rise, increased

 and/or more intense precipitation, increased magnitude and frequency of storm events, and

 increased magnitude and frequency of storm surge—all of which will become, and are becoming,

 worse as a result of climate change— in violation of the Permit and the Clean Water Act.

 230.   Shell has failed to properly maintain its stormwater treatment system in violation of the

 Permit and the Clean Water Act.

                                       Fifth Cause of Action

  Violation of the Clean Water Act – Failure to Address Adequacy of Containment of Leaks
                        and Spills in Storage and Truck Loading Areas

 231.   Plaintiff incorporates the allegations contained in the above paragraphs as though fully set

 forth herein.

 232.   The Permit requires that:

                 [t]he SWPPP in Part I.C. shall specifically address the adequacy of
                 containment of leaks and spills in storage areas (from Drums,
                 Additive Tanks, Petroleum Product Tanks, etc.) and truck loading
                 area(s). Adequate containment must exist at these locations so as to
                 prevent untreated discharges from reaching any surface water.

 Permit Part I.B.5, at 11.

 233.   The SWPPP contains a section entitled “Spill Prevention and Response Procedures.”

 SWPPP at 4-2 – 4-3.

 234.   However, Shell has failed to design and implement containment systems adequate to

 prevent discharges resulting from sea level rise, increased and/or more intense precipitation,



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 increased magnitude and frequency of storm events, and increased magnitude and frequency of

 storm surge—all of which will become, and are becoming, worse as a result of climate change, in

 violation of the Permit and the Clean Water Act.

                                        Sixth Cause of Action

         Violation of the Clean Water Act – Failure to Amend or Update the SWPPP

 235.   Plaintiff incorporates the allegations contained in the above paragraphs as though fully set

 forth herein.

 236.   The Permit requires that:

                 [t]he permittee shall immediately amend the SWPPP whenever there
                 is a change in design, construction, operation, or maintenance,
                 which has a significant effect of [sic] the potential for the discharge
                 of pollutants to the waters of the State; a release of reportable
                 quantities of hazardous substances and oil; or if the SWPPP proves
                 to be ineffective in achieving the general objectives of controlling
                 pollutants in storm water discharges associated with industrial
                 activity. Changes must be noted and then submitted to DEM.
                 Amendments to the SWPPP may be reviewed by DEM in the same
                 manner as Part I.C.3. of this permit.

 Permit Part I.C.4, at 12.

 237.   Shell has not amended or updated its SWPPP based on information in its possession

 regarding sea level rise, increased and/or more intense precipitation, increased magnitude and

 frequency of storm events, and increased magnitude and frequency of storm surge—all of which

 will become, and are becoming, worse as a result of climate change—in violation of the Permit

 and the Clean Water Act.

 238.   For these reasons, Shell has failed to properly amend or update its SWPPP, in violation of

 the Permit and the Clean Water Act.




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                                      Seventh Cause of Action

   Violation of the Clean Water Act – Failure to Properly Operate and Maintain Facilities
                           and Systems of Treatment and Control

 239.   Plaintiff incorporates the allegations contained in the above paragraphs as though fully set

 forth herein.

 240.   The Permit requires that “[t]he permittee shall at all times properly operate and maintain

 all facilities and systems of treatment and control (and related appurtenances) which are installed

 or used by the permittee to achieve compliance with the conditions of this permit.” Permit Part

 II.e, at 3. “Proper operation and maintenance also includes adequate laboratory controls and

 appropriate quality assurance procedures . . .” Id. The Permit provision “requires the operation of

 back-up or auxiliary facilities or similar systems only when the operation is necessary to achieve

 compliance with the conditions of the permit.” Id.; see also 40 C.F.R. § 122.41(e).

 241.   The Permit’s SWPPP requirements also include preventative maintenance protocols

 involving “inspection and maintenance of storm water management devices (i.e., oil/water

 separators, catch basins) as well as inspecting and testing plant equipment and systems to uncover

 conditions that could cause breakdown or failures resulting in discharges of pollutants to surface

 waters.” Permit Part I.C.5.b.3, at 14.

 242.   Shell is not properly operating and maintaining the Providence Terminal because Shell has

 failed to consider and act upon information regarding sea level rise, increased and/or more intense

 precipitation, increased magnitude and frequency of storm events, and increased magnitude and

 frequency of storm surge—all of which will become, and are becoming, worse as a result of climate

 change.

 243.   Shell’s failure to properly operate and maintain the Providence Terminal violates the

 Permit and the Clean Water Act.

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                                      Eighth Cause of Action

     Violation of the Clean Water Act – Failure to Clean Oil/Water Separators and Storm
                                        Water Ponds

 244.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully set

 forth herein.

 245.    The SWPPP states that “[t]he oil/water separators are is [sic] inspected quarterly for both

 sludge layer and oil layer and cleaned-out as appropriate” and that “[t]he storm water collection

 ponds are also inspected quarterly for excessive sediment build-up or evidence of erosion, and

 corrective action taken as needed.” SWPPP, at 4-4.

 246.    The separator and ponds are routinely dirty, and show no signs of regular cleaning or

 maintenance. Examples of this are attached at Exhibits B and C.

 247.    Failure to clean out the separators and ponds and/or take corrective action is a violation of

 Shell’s duty to maintain and implement the SWPPP. See Permit Part I.C.1, at 12; SWPPP, at i.

 248.    Shell’s failure to comply with its duties under the SWPPP is a violation of the Permit and

 the Clean Water Act.

                                       Ninth Cause of Action

   Violation of the Clean Water Act – Failure to Submit Required Facts or Information to
                  Rhode Island Department of Environmental Management

 249.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully set

 forth herein.

 250.    The Permit requires that: “[w]here the permittee becomes aware that it failed to submit any

 relevant facts in a permit application, or submitted incorrect information in a permit application or

 in any report to the Director, they shall promptly submit such facts or information.” Permit Part

 II.1.7, at 6.



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 251.   Shell has failed to submit relevant facts and/or submitted incorrect information regarding

 sea level rise, increased and/or more intense precipitation, increased magnitude and frequency of

 storm events, and increased magnitude and frequency of storm surge—all of which will become,

 and are becoming, worse as a result of climate change—in its permit application and in reports to

 DEM.

 252.   Shell has not promptly submitted such facts or information to DEM, despite Shell’s

 knowledge of sea level rise, increased and/or more intense precipitation, increased magnitude and

 frequency of storm events, and increased magnitude and frequency of storm surge—all of which

 will become, and are becoming, worse as a result of climate change.

 253.   By failing to submit relevant facts and/or submitting incorrect information, and failing to

 promptly submit such information upon becoming aware that it had not previously been submitted,

 Shell is violating the Permit and the Clean Water Act.

                                      Tenth Cause of Action

                     Violations of the Clean Water Act – Duty to Mitigate

 254.   Plaintiff incorporates the allegations contained in the above paragraphs as though fully set

 forth herein.

 255.   The Permit requires that: “[t]he permittee shall take all reasonable steps to minimize or

 prevent any discharge in violation of this permit which has a reasonable likelihood of adversely

 affecting human health or the environment.” Permit Part II.d, at 2; see also 40 C.F.R. § 122.41(d).

 256.   Shell has failed take all reasonable steps to minimize or prevent any discharge in violation

 of the Permit which has a reasonable likelihood of adversely affecting human health or the

 environment due to its failure to consider and act upon information regarding sea level rise,

 increased and/or more intense precipitation, increased magnitude and frequency of storm events,



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 and increased magnitude and frequency of storm surge—all of which will become, and are

 becoming, worse as a result of climate change, and are known to Shell.

 257.   Shell’s failure to take all reasonable steps to minimize or prevent any discharge which has

 a reasonable likelihood of adversely affecting human health or the environment is a violation of

 the Permit and the Clean Water Act.

                                    Eleventh Cause of Action

                  Violations of the Clean Water Act – Unpermitted Discharge

 258.   Plaintiff incorporates the allegations contained in the above paragraphs as though fully set

 forth herein.

 259.   The CWA prohibits the discharge of any pollutant into the navigable waters of the United

 States without a NPDES permit authorizing such discharge. See 33 U.S.C. §§ 1311(a), 1342.

 260.   The Permit authorizes discharge of treated stormwater from three distinct outfalls;

 however, there is additional runoff occurring from the Providence Terminal that is not authorized

 by the Permit.

 261.   During rain events, runoff flows down an embankment located on the Providence Terminal

 property directly into the Providence River. See Exhibit B.

 262.   The Providence Terminal also discharges stormwater containing pollutants directly into

 the City of Providence storm drainage system from an area west of Allens Avenue.

 263.   These discharges are not authorized by the Permit, and thus are unpermitted, in violation

 of the Permit and the Clean Water Act.




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                                      Twelfth Cause of Action

   Violations of the Clean Water Act – Failure to Comply with Monitoring and Reporting
      Requirements due to Failure to Use and Comply with Required Detection Limits

 264.   Plaintiff incorporates the allegations contained in the above paragraphs as though fully set

 forth herein.

 265.   Failure to conduct required monitoring and reporting in compliance with an NPDES Permit

 is a violation of the CWA.

 266.   Shell has failed to comply with the monitoring and reporting requirements in its Permit.

 267.   As summarized in Exhibit D, Shell has often reported on its DMRs that the concentration

 of pollutants in the samples analyzed was “<1” ug/L. Reporting “<1” ug/L indicates that the MDL

 Shell is using for the pollutants is one ug/L, and the amount of pollutant in the analyzed samples

 was below the detection limit of one ug/L.

 268.   The MDL expressly required in the Permit for total xylenes, benzo(a)anthracene,

 benzo(a)pyrene, benzo(b)fluoranthene, benzo(k)fluoranthene, chrysene, dibenzo(a,h)anthracene,

 and indeno(1,2,3-cd)pyrene is not “one” ug/L; it is 0.5, 0.013, 0.023, 0.018, 0.017, 0.15, 0.03, and

 0.043 ug/L, respectively, all values below one. For these pollutant parameters, reporting “<1” ug/L

 is a violation of the Permit.

 269.   By reporting these pollutants as “<1”, where “1” is orders of magnitude greater than the

 required monitoring level for these pollutants, Shell has not documented the level of toxicity of its

 discharge in conformance with the Permit’s requirements.

 270.   Shell’s inadequate monitoring and reporting provide little to no useful information

 regarding the quality or characteristics of these pollutant discharges from the facility.

 271.   Shell has failed to conduct required monitoring for pollutant discharges and failed to

 comply with reporting requirements, in violations of the Permit and the Clean Water Act.

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                                     Thirteenth Cause of Action

    Violation of the Clean Water Act – Failure to Comply with Monitoring and Reporting
      Requirements due to Failure to Comply with Timing Requirements for Sampling

 272.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully set

 forth herein.

 273.    The Permit requires the following regarding sampling for “oil and grease” and “TSS:”

                 [t]wo (2) samples shall be taken during wet weather and one (1)
                 during dry weather. Wet weather samples must be collected during
                 the first 30 minutes from discharges resulting from a storm event
                 that is greater than 0.1 inch of rainfall in a 24-hour period and at
                 least 72 hours from the previously measurable (greater than 0.1 inch
                 of rainfall in a 24-hour period) storm event. If this is not feasible,
                 wet weather samples may be taken within the first hour of discharge
                 and noted on the Discharge Monitoring Report.
 Permit Part I.A.1 n. 1, at 4.

 274.    As summarized in Exhibit E, the DMRs for the Providence Terminal regularly indicate that

 samples were not taken in compliance with this Permit requirement.

 275.    For monitored pollutants other than “oil and grease” and “TSS,” the Permit requires that:

                 [o]ne sample shall be taken during the first 30 minutes of discharge
                 from a storm event that is greater than 0.1 inch of rainfall in a 24-
                 hour period and at least 72 hours from the previously measurable
                 (greater than 0.1 inch of rainfall in a 24-hour period) storm event; if
                 this is not feasible, it may be taken within the first hour of discharge
                 and noted on the Discharge Monitoring Report.

 Permit Part I.A.1 n. 2, at 4.

 276.    As summarized in Exhibit F, the DMRs for the Providence Terminal regularly indicate that

 samples were not taken in compliance with this Permit requirement.

 277.    Shell’s failure to take samples in compliance with the Permit’s timing requirements is a

 violation of the Permit and the Clean Water Act.




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                                    Fourteenth Cause of Action

    Violation of the Clean Water Act – Failure to Comply with Monitoring and Reporting
                Requirements due to Failure to Provide Required Information

 278.   Plaintiff incorporates the allegations contained in the above paragraphs as though fully set

 forth herein.

 279.   For all pollutant monitoring, Shell is required to document specific storm characteristics

 on the DMRs. Specifically, the Permit requires that:

                 [i]n addition to the required sampling results submitted in
                 accordance with Parts I.A.l. and l.A.3. of this permit, the permittee
                 must provide the date and duration (hours) of the storm event
                 sampled, the total depth of rainfall (inches), and the total volume of
                 runoff (Ft3). This information must be submitted with the Discharge
                 Monitoring Report forms at the frequency specified in Part I.E.2 of
                 this permit.

 Permit Part I.A.4.d, at 8.

 280.   As summarized in Exhibit G, the DMRs for the Providence Terminal indicate that the

 information required under this Permit provision was not recorded and/or provided.

 281.   Shell’s failure to provide required information in conjunction with its sampling activities

 is a violation of the Permit and the Clean Water Act.

                                     Fifteenth Cause of Action

    Violation of the Clean Water Act – Failure to Comply with Monitoring and Reporting
                       Requirements due to Abuse of Waiver Provision

 282.   Plaintiff incorporates the allegations contained in the above paragraphs as though fully set

 forth herein.

 283.   For all pollutant monitoring, if adverse climatic conditions prevent samples from being

 collected in a given period, Shell is required to submit an explanation as to why, and may only

 exercise this waiver once in a two-year period. Specifically, the Permit requires that:



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                 [i]f the permittee is unable to collect samples due to adverse climatic
                 conditions which make the collections of samples dangerous or
                 impractical, the permittee must submit, in lieu of sampling data, a
                 description of why samples could not be collected, including
                 available precipitation data for the monitoring period. The permittee
                 can only exercise this waiver once in a two (2) year period for
                 outfalls designated 001A, 002A, and 003A.

 Permit Part I.A.4.e, at 8.

 284.    As summarized in Exhibit H, the DMRs for the Providence Terminal indicate that Shell is

 over-utilizing this waiver requirement, in violation of the Permit’s prohibition on using the waiver

 more than once in a two-year period.

 285.    Shell’s abuse of the limited waiver provision in conjunction with its sampling activities is

 a violation of the Permit and the Clean Water Act.

                                     Sixteenth Cause of Action

     Violation of the Clean Water Act – Failure to Comply with Sampling Requirements

 286.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully set

 forth herein.

 287.    The Permit includes a condition entitled “Recordkeeping and Internal Reporting

 Procedures” that states:

                 [i]ncidents such as spills, or other discharges, along with other
                 information describing the quality and quantity of storm water
                 discharges must be included in the records. All inspections and
                 maintenance activities must be documented and maintained on site
                 for at least five (5) years.

 Permit Part I.C.5.b.11, at 16 (emphasis added).

 288.    Because all discharges through Outfall 001A and some discharges through Outfall 002A

 are pump controlled, see Statement of Basis IV, at 3, Shell must take samples at those locations




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 within the first 30 minutes of discharge associated with pumping and keep records of all pump

 operations to be in compliance with the Permit, see Permit Part I.A.1 n. 1, 2, at 4.

 289.    The DMRs do not indicate that monitoring is occurring during pumped discharges at all,

 let alone during the first 30 minutes after the pumps are activated.

 290.    Shell’s failure to sample at all pump-controlled locations within the first 30 minutes of

 discharge associated with pumping and failure to keep records of all pump operations is a violation

 of the Permit and the Clean Water Act.

                                    Seventeenth Cause of Action

        Violations of the Clean Water Act – Violations of State Water Quality Standards

 291.    Plaintiff incorporates the allegations contained in the above paragraphs as though fully set

 forth herein.

 292.    The Permit states: “[d]ischarges which cause a violation of water quality standards are

 prohibited.” Permit Part II.o, at 7.

 293.    The     State   water   quality   standards   for   benzo(a)anthracene,    benzo(a)pyrene,

 benzo(b)fluoranthene, benzo(k)fluoranthene, chrysene, dibenzo(a,h)anthracene, and indeno(1,2,3-

 cd)pyrene are well below “1” ug/L. See R.I. Code R. 25-16-25, Appendix B, Table 1 (DEM

 Ambient Water Quality Criteria and Guidelines).

 294.    Upon information and belief, Shell is violating State water quality standards, at a minimum,

 on the days in which Shell has reported “<1” ug/L for the parameters listed above. See supra, ¶

 267.

 295.    Each and every violation of State water quality standards is a violation of the Permit and

 the Clean Water At.




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                                    Eighteenth Cause of Action
  Violation of the Clean Water Act – Violation of Permit Prohibition on Visible Oil Sheen,
                                 Foam, or Floating Solids

 296.   Plaintiff incorporates the allegations contained in the above paragraphs as though fully set

 forth herein.

 297.   The Permit states: “the effluent shall contain neither a visible oil sheen, foam, nor floating

 solids at any time” and “[t]he discharge shall not cause visible discoloration of receiving waters.”

 Permit Part I.A.4.c & I.A.4.b, at 8.

 298.   State water quality standards prohibit any “sludge deposits, solid refuse, floating solids,

 oil, grease, scum” in Class SB1{a} waterbodies, including the relevant portion of the Providence

 River. R.I. Code R. 25-16-25:8, Table 2.8.D.(3).

 299.   There have been past and ongoing discharges associated with the Providence Terminal that

 result in a visible oil sheen at the Providence Terminal outfalls and in the Providence River.

 300.   A 2012 Emergency Response Report, filed with the DEM Division of Compliance and

 Inspection, stated that “oil has been coming out into the Providence River [near one of the

 outfalls].” State of Rhode Island and Providence Plantations Department of Environmental

 Management, Emergency Response Report, by DEM Investigator Jill Eastman (Feb. 23, 2012).

 See also supra, ¶ 110.

 301.   Each and every discharge of oil sheen into the Providence River is a violation of State

 water quality standards, the Permit, and the Clean Water Act.

                                    Nineteenth Cause of Action
            Violation of the Clean Water Act – Failure to Properly Operate and Maintain
                            Wastewater Collection and Treatment System

 302.   Plaintiff incorporates the allegations contained in the above paragraphs as though fully set

 forth herein.

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 303.    The Permit requires that “[t]he wastewater collection and treatment system shall be

 operated and maintained in order to provide optimal treatment of the wastewaters prior to discharge

 to the receiving water.” Permit Part I.B.4, at 11.

 304.    The current condition of the Providence Terminal wastewater collection and treatment

 system does not comply with this provision of the Permit.

 305.    The Providence Terminal outfall pipes, which discharge directly into the Providence River,

 are in disrepair.

 306.    Failure to properly operate and maintain the wastewater collection and treatment system is

 a violation of the Permit and the Clean Water Act.

                                      RELIEF REQUESTED

 307.    Wherefore, Plaintiff respectfully requests that this Court grant the following relief:

             a. declaratory and injunctive relief to prevent further violations of the Clean Water

                 Act pursuant to §§ 505(a) and (d) of the CWA, 33 U.S.C. §§ 1365(a) and (d);

             b. civil penalties of up to $37,500 per day per day per violation for all Clean Water

                 Act violations occurring between January 12, 2009 and November 2, 2015; up to

                 $51,570 per day per violation for all Clean Water Act violations occurring after

                 November 2, 2015 and assessed on or after August 1, 2016 but before January 15,

                 2017; and up to $52,414 per day per violation for all Clean Water Act violations

                 occurring after November 2, 2015 and assessed on or after January 15, 2017,

                 pursuant to § 309(d) of the CWA, 33 U.S.C. § 1319(d), and the regulations

                 governing the Adjustment of Civil Monetary Penalties for Inflation, 40 C.F.R.

                 §§ 19.1–19.4;




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            c. environmental restoration and compensatory mitigation to address the impacts of

                past violations of the Permit;

            d. an award of the costs of litigation, including reasonable attorney and expert witness

                fees, under § 505(d) of the CWA, 33 U.S.C. § 1365(d); and

            e. all other relief as permitted by law.

                                          JURY DEMAND

 Plaintiff requests a jury trial on the issue of liability and any other issue cognizable by a Jury.


 Respectfully submitted,                                      Dated: August 28, 2017

 CONSERVATION LAW FOUNDATION, INC.

 By its attorneys:

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 *Motions for Pro Hac Vice Admission To Be
 Filed

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